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               EXHIBIT M
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                                                                                                 US010918621B2


  ( 12 ) Mosher
         Unitedet alStates Patent                                            ( 10) Patent No.: US 10,918,621 B2
                     .                                                       (45 ) Date of Patent : * Feb . 16 , 2021
  ( 54 ) ENALAPRIL FORMULATIONS                                         ( 52) U.S. CI.
                                                                              CPC                 A61K 31/401 (2013.01 ) ; A61K 9/0053
  ( 71 ) Applicant: Silvergate Pharmaceuticals, Inc. ,                                         (2013.01 ) ; A61K 9/0095 ( 2013.01 ) ; A61K
                    Greenwood Village, CO (US )                                            47/12 (2013.01 ) ; A61K 47/26 (2013.01 )
  ( 72 ) Inventors: Gerold L. Mosher , Kansas City, MO                  ( 58 ) Field of Classification Search
                    (US ) ; David W. Miles , Kansas City,                         CPC          A61K 31/401 ; A61K 47/12 ; A61K 47/26 ;
                    MO ( US )                                                                              A61K 9/0053 ; A61K 9/0095
                                                                                  See application file for complete search history .
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  ( 21 ) Appl. No .: 16 /991,575                                        EP                 2903690 A1          8/2015
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  (22 ) Filed :      Aug. 12 , 2020
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          Jan. 8 , 2019 , now Pat. No. 10,772,868 , which is a
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          Oct. 31 , 2018 , now Pat . No. 10,786,482 , which is a
          continuation of application No. 16 /003,994 , filed on        ( 57 )                 ABSTRACT
                                       ( Continued )                    Provided herein are stable enalapril oral liquid formulations .
                                                                        Also provided herein are methods of using enalapril oral
  ( 51 ) Int. Cl.                                                       liquid formulations for the treatment of certain diseases
          A61K 31/401                        ( 2006.01 )                including hypertension , heart failure and asymptomatic left
          A61K 9/00                          ( 2006.01 )                ventricular dysfunction .
          A61K 47/26                         ( 2006.01 )
          A61K 47/12                         ( 2006.01)                                  30 Claims , 2 Drawing Sheets
                    Enalapril diketopiperazine; O Enalaprilat
                            0.6
                            0.5
                            0.4
                            0.3

                    enaleaprtiel 0.2
                    of
                    /
                    w
                    m%
                            0.1
                                 0
                                       3                   3.5               4                       4.5                    5
                                                                           pH
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  drugs.com/uk/pdf/leaflet/213793.pdf> . column 2 , lines 70-76 .              159 ( 6 ) , 1017-22.e2 , Database : MEDLINE .
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                                                 FIG . 1
     Enalapril diketopiperazine; O Enalaprilat
             0.6
                                                                 0
             0.5
             0.4
                                           O O
             0.3
                                           O
     enaleaprtiel 0.2
     of
     /
     w
     m%
                                O
             0.1
                  0
                        3           3.5                    4         4.5           5
                                                       pH
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                                                       FIG . 2

           Enalapril diketopiperazine; O Enalaprilat
                   4.0
                   3.5
                                                                      0
                   3.0
                   2.5
                   2.0
    enaleaprtiel
    of
    /
    w
    m%             1.5
                                               8
                                    O
                   1.0
                   0.5
                   0.0
                         3              3.5                 4             4.5            5
                                                           pH
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              ENALAPRIL FORMULATIONS                                                               -continued
                                                                                            ?? .
             CROSS -REFERENCE OF RELATED
                     APPLICATIONS
                                                                   5                                   N
     This application is a continuation of U.S. patent applica
  tion Ser. No. 16 / 883,553 , filed May 26 , 2020 which is a                                                               OH
  continuation of U.S.patent application Ser. No. 16 /242,898 ,
  filed Jan. 8 , 2019 , which is a continuation of Ser. No.                                       Enalaprilat
  16 / 177,159 , filed Oct. 31 , 2018 , which is a continuation of
  U.S. patent application Ser. No. 16/ 003,994 , filed Jun . 8 , 10
  2018 ( now U.S. Pat . No. 10,154,987 , issued Dec. 18 , 2018 ) ,      Enalapril is currently administered in the form of oral
  which is a continuation of U.S. patent application Ser. No. tablets       , (e.g. , Vasotec® ) or in the form of liquid formulations
  15 / 802,341 , filed Nov. 2 , 2017 (now U.S. Pat. No. 10,039 , obtained       by reconstitution of enalapril powder formulations.
  745 , issued Aug. 7 , 2018 ) , which is a continuation of U.S.
  patent application Ser. No. 15 / 613,622 , filed Jun . 5 , 2017 15 In addition to the treatment of hypertension, enalapril tablets
  (now U.S. Pat . No. 9,808,442 , issued Nov. 7 , 2017 ) , which have been used for symptomatic congestive heart failure ,
  is a continuation of U.S. patent application Ser. No. 15/081 , and asymptomatic left ventricular dysfunction.
  603 , filed Mar. 25 , 2016 ( now U.S. Pat . No. 9,669,008 ,
  issued Jun . 6 , 2017 ) , which claims the benefit of U.S.                       SUMMARY OF THE INVENTION
  Provisional Patent Application No. 62/310,198, filed Mar.
  18 , 2016 , all of which are incorporated herein by reference 20       Provided herein are enalapril oral liquid formulations. In
  in their entirety.
                                                                       one aspect , the enalapril oral liquid formulation , comprises
             BACKGROUND OF THE INVENTION                               (i ) enalapril or a pharmaceutically acceptable salt or solvate
     Hypertension, or high blood pressure, is a serious health         thereof; ( ii ) sweetener that is sucralose ( iii ) a buffer com
  issue in many countries. According to the National Heart        25   prising citric acid ; ( iv ) a preservative that is sodium benzo
  Blood and Lung Institute, it is thought that about 1 in 3 than   ate ; and (v ) water; wherein the pH of the formulation is less
  adults in the United States alone have hypertension . Left              about 3.5 ; and wherein the formulation is stable at
  unchecked , hypertension is considered a substantial risk about 5 + 3 ° C. for at least 12 months.
  factor for cardiovascular and other diseases including coro-        In some embodiments , the enalapril is enalapril maleate .
  nary heart disease , myocardial infarction , congestive heart 30 In some embodiments , the formulation further comprises a
  failure, stroke and kidney failure . Hypertension is classified
  as primary essential) hypertension or secondary hyperten flavoring
                                                                   formulation
                                                                               agent. In some embodiments, the buffer in the
                                                                                   further comprises sodium citrate dihydrate. In
  sion . Primary hypertension has no known cause and may be
  related to a number of environmental, lifestyle and genetic some embodiments, the amount of enalapril or a pharma
  factors such as stress, obesity, smoking, inactivity and ceutically acceptable salt or solvate thereof is about 0.6 to
  sodium intake. Secondary hypertension can be caused by 35 about 1.2 mg/ml. In some embodiments, the amount of
  drug or surgical interventions, or by abnormalities in the sucralose is about 0.5 to about 0.9 mg /ml. In some embodi
  renal, cardiovascular or endocrine system .
     A number of antihypertensive drugs are available for ments    about
                                                                          , the amount of citric acid in the buffer is about 0.8 to
                                                                            3.5 mg /ml. In some embodiments, the amount of
  treating hypertension. Various therapeutic classes of antihy
  pertensive drugs include alpha -adrenergic blockers, beta- 40    sodium    citrate dihydrate in the buffer is about 0.1 to about
  adrenergic blockers, calcium - channel blockers, hypoten 0.80 In some embodiments, the amount of the sodium
  sives , mineralcorticoid antagonists, central alpha -agonists, benzoate is about 0.2 to about 1.2 mg/ml . In some embodi
  diuretics and rennin -angiotensin -aldosterone inhibitors ments , the amount of enalapril or a pharmaceutically accept
  which include angiotensin II receptor antagonists (ARB ) and able salt or solvate thereof is about 10 to about 25 % ( w / w of
  angiotensin -converting enzyme ( ACE ) inhibitors. Angio- 45 solids ) . In some embodiments, the amount of sucralose is
  tensin -converting enzyme (ACE ) inhibitors inhibit angio about 8 to about 18 % ( w / w of solids). In some embodiments,
  tensin - converting enzyme ( ACE ) , a peptydyl dipeptidase          the amount of citric acid in the buffer is about 17 to about
  that catalyzes angiotension I to angiotension II , a potent          47 % ( w / w of solids ) . In some embodiments, the amount of
  vasoconstrictor involved in regulating blood pressure.               sodium citrate dihydrate in the buffer is about 1 to about 11 %
     Enalapril is a prodrug belonging to the angiotensin
  converting enzyme ( ACE) inhibitor of medications. It is 50          ( w / w of solids ) . In some embodiments, the amount of
  rapidly hydrolyzed in the liver to enalaprilat following oral        sodium benzoate is about 12 to about 25 % ( w / w of solids ) .
  administration . Enalaprilat acts as a potent inhibitor ofACE .      In some embodiments, the pH of the formulation is between
  The structural formulae of enalapril and enalaprilat are as          about 3 and about 3.5 . In some embodiments, the pH of the
  follows:                                                             formulation is about 3.3 . In some embodiments, the citrate
                                                                   55 concentration in the buffer is about 5 mM to about 20 mM .
                                                                       In some embodiments, the citrate concentration in the buffer
                                                                       is about 10 mM . In some embodiments , the formulation is




         China
                                                                       stable at about 5 + 3 ° C. for at least 18 months. In some
                                                                       embodiments, the formulation is stable at about 5 + 3 ° C. for
                                                                   60 at least 24 months. In some embodiments , the formulation
                                                                      does not contain mannitol. In some embodiments, the for
                                                                       mulation does not contain silicon dioxide .
                                                                         In one aspect , the enalapril oral liquid formulation, com
                                              HO
                                                                      prises (i ) about 1 enalapril maleate ; (ii ) about 0.70 mg /ml of
                             Enalapril
                                                                   65 a sweetener that is sucralose ; (iii ) a buffer comprising about
                                                                      1.82 mg/ml citric acid ; ( iv ) about 1 mg/ ml of a preservative
                                                                      that is sodium benzoate ; and ( v ) water; wherein the pH of the
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  formulation is less than about 3.5 ; and wherein the formu-           embodiments, the subject is a child . In some embodiments,
  lation is stable at about 5 + 3 ° C. for at least 12 months .         the formulation is administered to the subject in a fasted
    In some embodiments, the formulation further comprises              state . In some embodiments , the formulation is administered
  a flavoring agent. In some embodiments, the buffer further            to the subject in a fed state . In some embodiments, the
  comprises about 0.15 mg/mL sodium citrate dihydrate . In 5 formulation is further administered in combination with an
  some embodiments, the pH of the formulation is between agent selected from the group consisting of diuretics, beta
  about 3 and about 3.5 . In some embodiments, the pH of the blockers       , alpha blockers , mixed alpha and beta blockers ,
  formulation is about 3.3 . In some embodiments, the citrate calcium channel blockers , angiotensin II receptor antago
  concentration in the buffer is about 5 mM to about 20 mM . nists , ACE inhibitors, aldosterone antagonists, and alpha - 2
  In some embodiments, the citrate concentration in the buffer 10 agonists .
  is about 10 mM . In some embodiments , the formulation is               Also provided herein are methods of treating prehyper
  stable at about 5-3 ° C. for at least 18 months. In some              tension in a subject comprising administering to that subject
  embodiments, the formulation is stable at about 5-3 ° C. for          a therapeutically effective amount of enalapril oral liquid
  at least 24 months . In some embodiments , the formulation
  does not contain mannitol. In some embodiments, the for- 15 formulation comprising (i) about 1 mg/ml enalapril maleate;
  mulation does not contain silicon dioxide .                            (ii ) about 0.7 mg/ml of a sweetener that is sucralose; (ii ) a
       In one aspect , the enalapril oral liquid formulation com         buffer   comprising about 1.82 mg /ml citric acid and about
  prises (i ) about 19.3 % ( w / w of solids ) enalapril maleate ; (ii ) 0.15 mg/ml sodium citrate dihydrate; ( iv ) about 1 mg /ml of
  about 13.5 % ( w / w of solids ) of a sweetener that is sucralose ; a preservative that is sodium benzoate ; and (v ) water;
  ( iii ) a buffer comprising about 35.2 % ( w / w of solids ) citric 20 wherein the pH of the formulation is less than about 3.5 ; and
  acid ; (iv ) about 19.3 % ( w / w of solids ) of a preservative that wherein the formulation is stable at about 5 + 3 ° C. for at least
  is sodium benzoate; and ( v ) water ; wherein the pH of the 12 months . In some embodiments, the formulation does not
  formulation is less than about 3.5 ; and wherein the formu-           contain mannitol. In some embodiments, the formulation
  lation is stable at about 5 + 3 ° C. for at least 12 months .         does not contain silicon dioxide .
     In some embodiments, the formulation further comprises 25 In some embodiments , the subject has blood pressure
  a flavoring agent. In some embodiments , the buffer further values of about 120-139 / 80-89 mm Hg .
  comprises about 2.9 % ( w / w solids ) sodium citrate dihydrate.     Also provided herein are methods of treating heart failure
  In some embodiments, the pH of the formulation is between in a subject comprising administering to that subject a
  about 3 and about 3.5 . In some embodiments , the PH of the therapeutically effective amount of enalapril oral liquid
  formulation is about 3.3 . In some embodiments, the citrate 30 formulation comprising ( i ) about 1 mg/ml enalapril maleate;
  concentration in the buffer is about 5 mM to about 20 mM .       (ii ) about 0.70 mg /ml of a sweetener that is sucralose ; ( iii )
  In some embodiments, the citrate concentration in the buffer a buffer comprising about 1.82 mg/ml citric acid and about
  is about 10 mM . In some embodiments, the formulation is         0.15 mg/ml sodium citrate dihydrate; ( iv ) about 1 mg/ml of
  stable at about 5 + 3 ° C. for at least 18 months. In some         a preservative that is sodium benzoate ; and (v ) water;
  embodiments , the formulation is stable at about 5 : 3 ° C. for 35 wherein the pH of the formulation is less than about 3.5 ; and
  at least 24 months. In some embodiments, the formulation              wherein the formulation is stable at about 5-3 ° C. for at least
  does not contain mannitol. In some embodiments, the for-              12 months. In some embodiments, the formulation does not
  mulation does not contain silicon dioxide.                            contain mannitol. In some embodiments, the formulation
    In one aspect , the enalapril oral liquid formulation con           does not contain silicon dioxide .
  sists essentially of ( i ) about 1 mg/ml enalapril maleate ; ( ii ) 40 Also provided herein are methods of treating left ven
  about 0.70 mg/ml of a sweetener that is sucralose ; ( iii ) a tricular dysfunction in a subject comprising administering to
  buffer comprising about 1.82 mg /ml citric acid and about that subject a therapeutically effective amount of enalapril
  0.15 mg/ml sodium citrate dihydrate; ( iv ) about 1 of a oral liquid formulation comprising (i ) about 1 mg/ml enal
  preservative that is sodium benzoate; (v) a flavoring agent; april maleate ; (ii ) about 0.7 mg/ml of a sweetener that is
  and ( vi) water; wherein the pH of the formulation is less than 45 sucralose; ( iii ) a buffer comprising about 1.82 mg/ml citric
  about 3.5 adjusted by sodium hydroxide or hydrochloric acid and about 0.15 mg/ml sodium citrate dihydrate; ( iv )
  acid ; and wherein the formulation is stable at about 5 + 3 ° C. about 1 mg/ml of a preservative that is sodium benzoate ; and
  for at least 12 months .                                              ( v ) water ; wherein the pH of the formulation is less than
       Also provided herein are methods of treating hypertension about 3.5 ; and wherein the formulation is stable at about
  in a subject comprising administering to that subject a 50 513 ° C. for at least 12 months. In some embodiments, the
  therapeutically effective amount of enalapril oral liquid formulation does not contain mannitol. In some embodi
  formulation comprising ( i ) about 1 mg/ml enalapril maleate ; ments, the formulation does not contain silicon dioxide.
  ( ii ) about 0.7 mg/ml sucralose ; (iii ) a buffer comprising
  about 1.82 mg/ml citric acid and about 0.15 mg/ml sodium                           INCORPORATION BY REFERENCE
  citrate dihydrate; (iv) about 1 mg/ml of a preservative that is 55
  sodium benzoate ; and ( v ) water ; wherein the pH of the                  All publications, patents, and patent applications men
  formulation is less than about 3.5 ; and wherein the formu- tioned in this specification are herein incorporated by ref
  lation is stable at about 5 + 3 ° C. for at least 12 months. In       erence to the same extent as if each individual publication ,
  some embodiments , the formulation does not contain man patent, or patent application was specifically and individu
  nitol . In some embodiments, the formulation does not con- 60 ally indicated to be incorporated by reference .
  tain silicon dioxide .
        In some embodiments, the hypertension is primary (es                    BRIEF DESCRIPTION OF THE DRAWINGS
  sential) hypertension . In some embodiments, the hyperten
  sion is secondary hypertension. In some embodiments, the         The novel features of the invention are set forth with
  subject has blood pressure values greater than or equal to 65 particularity in the appended claims . A better understanding
  140/90 mm Hg . In some embodiments, the subject is an                 of the features and advantages of the present invention will
  adult. In some embodiments , the subject is elderly. In some          be obtained by reference to the following detailed descrip
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   tion that sets forth illustrative embodiments , in which the ment of hypertension and other disorders . In particular, the
   principles of the invention are utilized , and the accompany- embodiments provide stable enalapril oral liquid formula
   ing drawings of which :                                            tions as well as alternatively enalapril powder formulations
      FIG . 1 : Effect of pH on degradant formation after 8 weeks for oral liquid administration .
   of storage of various enalapril solution formulations at 5 ° C. 5 As used herein , “ enalapril ” refers to enalapril base , its
      FIG . 2 : Effect of pH on degradant formation after 8 weeks salt , or solvate or derivative or isomer or polymorph thereof.
   of storage of various enalapril solution formulations at room Suitable compounds include the free base , the organic and
   temperature ( 19-22 ° C. ) .                                       inorganic salts , isomers , isomer salts , solvates , polymorphs,
                                                                      complexes etc. U.S. Pat . Nos . 4,374,829 ; 4,472,380 and
                DETAILED DESCRIPTION OF THE                        10 4,510,083 disclose exemplary methods in the preparation of
                             INVENTION                                enalapril. In some embodiments, the enalapril used in the
                                                                      formulations described herein is an enalapril salt . In some
      Provided herein are stable enalapril oral liquid formula- instances, the enalapril salt is enalapril maleate . In other
   tions . Also provided herein are stable enalapril powder instances, the enalapril salt is in the form of enalapril
   formulations for reconstitution for oral liquid administra- 15 sodium .
   tion . These enalapril formulations described herein are use-         Other ACE inhibitors are contemplated in the formula
   ful for the treatment of hypertension , prehypertension, heart tions within and include but are not limited to quinapril,
   failure as well as ventricular dysfunction. The formulations indolapril, ramipril, perindopril, lisinopril, benazepril, imi
   are advantageous over conventional solid dosage adminis- dapril, zofenopril, trandolapril, fosinopril, captopril, and
   tration of enalapril ranging from ease of administration , 20 their salts , solvates , derivatives, polymorphs, or complexes ,
   accuracy of dosing , accessibility to additional patient popu-            thereof.
   lations such as to children and the elderly, and an increased
   patient compliance to medication .                                                    Enalapril Oral Liquid Formulations
      It is generally known that certain segments of the popu
   lation have difficulty ingesting and swallowing solid oral 25 Oral liquids include, but are not limited to , solutions ( both
   dosage forms such as tablets and capsules. As many as a aqueous and nonaqueous ), suspensions, emulsions, syrups,
   quarter of the total population has this difficulty. Often, this slurries, juices , elixirs , dispersions, and the like . It is envi
   leads to non - compliance with the recommended medical sioned that solution / suspensions are also included where
   therapy with the solid dosage forms, thereby resulting in certain components described herein are in a solution while
   rending the therapy ineffective . Further, solid dosage forms 30 other components are in a suspension.
   are not recommended for children or elderly due to                 In one aspect , the enalapril liquid formulations described
   increased risk in choking .                                      herein comprise enalapril, a preservative, a sweetening
     Furthermore, the dose of enalapril to be given to children              agent, a buf and water. In one embodiment, the sweet
   is calculated according to the child's weight. When the ening agent is sucralose . In one embodiment, the sweetening
   calculated dose is something other than the amount present 35 agent is xylitol . In one embodiment, the sweetening agent is
   in one or more intact solid dosage forms, the solid dosage not mannitol . In another embodiment, the preservative is
   form must be divided to provide the correct dose . This leads sodium benzoate. In some embodiments, the preservative is
   to inaccurate dosing when solid dosages forms, such as a paraben . In some embodiments , the preservative is a
   tablets , are compounded to prepare other formulations for mixture of parabens. In yet another embodiment, the buffer
   children .                                                        40      comprises citric acid . In some embodiments, the buffer
      For enalapril, one solution to overcoming the use of the               further comprises sodium citrate. In one aspect , the enalapril
   tablet form is for a compounding pharmacist to pulverize                  liquid formulation described herein comprises enalapril,
   and crush the enalapril tablet ( s ) into a powder via mortar and         sucralose, sodium benzoate , citric acid , sodium citrate, and
   pestle and reconstitute the powder in some liquid form .                  water. In some embodiments, the enalapril liquid formula
   However forming a enalapril oral liquid in this fashion has 45            tion herein further comprises a flavoring agent. In some
   significant drawbacks including large variability in the                  embodiments, the enalapril liquid formulation is not
   actual dosage, incomplete solubilizing of the enalapril tablet            obtained from crushing enalapril tablet and dissolving the
   in the liquid , rapid instability, inconsistent formulation               powder in a suitable vehicle for oral administration . In some
   methods per compounding pharmacy, and a number of other                   embodiments, the enalapril liquid formulation does not
   potential issues . The crushed tablet liquid formulation may         50   contain silicon dioxide. In some embodiments, the enalapril
   also be potentially unsafe due to contamination with residual             liquid formulation does not contain mannitol. In some
   drugs and other substances from the mortar and pestle or                  embodiments, the enalapril liquid formulation does not
   other crushing agent.                                                     contain lactose . In some embodiments , the enalapril liquid
      Alternatively, enalapril is formulated as enalapril powder             formulation does not contain magnesium stearate . In some
   compositions for reconstitution as oral liquids as described         55   embodiments, the enalapril liquid formulation does not
   in U.S. Pat. No. 8,568,747 . The powder compositions as                   contain sodium bicarbonate. In some embodiments, the
   described in this patent require mannitol and colloidal                   enalapril liquid formulation does not contain iron oxides.
   silicon dioxide for stability and dissolution . While these                  In some embodiments , enalapril or a pharmaceutically
   powder compositions are an improvement over crushing                      acceptable salt thereof, is present in about 0.6 to about 1.2
   tablets , they still require a step of mixing with a diluent. The    60   mg /ml in the oral liquid formulation . In other embodiments ,
   stable enalapril oral liquid formulations described herein                enalapril or a pharmaceutically acceptable salt thereof, is
   require no extra steps or manipulation prior to administra-               present in about 0.6 mg /ml, about 0.61 mg /ml, about 0.62
   tion to a subject. Further, the stable enalapril oral liquid              mg/ml, about 0.63 mg /ml, about 0.64 mg/ml, about 0.65
   formulations described herein do not require or need man-                 mg/ml, about 0.66 mg /ml, about 0.67 mg/ml, about 0.68
   nitol or colloidal silicon dioxide for stability and dissolution .   65   mg/ml, about 0.69 mg/ml, about 0.7 mg/ml, about 0.71
      The present embodiments described herein provide a safe                mg /ml, about 0.72 mg /ml, about 0.73 mg/ml, about 0.74
   and effective oral administration of enalapril for the treat-             mg/ml, about 0.75 mg /ml, about 0.76 mg/ml, about 0.77
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   mg/ml, about 0.78 mg/ml, about 0.79 mg /ml, about 0.8 salt thereof, is present in about 10% w/w to about 25 % w / w
   mg /ml, about 0.81 mg/ml, about 0.82 mg /ml, about 0.83 of the solids in the oral liquid formulation . In some embodi
   mg/ml, about 0.84 mg/ml, about 0.85 mg /ml, about 0.86 ments, enalapril is present in about 10.5 % w / w of the solids
   mg/ml, about 0.87 mg /ml, about 0.88 mg/ml, about 0.89 in the oral liquid formulation . In some embodiments , enal
   mg/ml, about 0.9 mg/ml, about 0.91 mg/ml, about 0.92 5 april is present in about 15 % w/w of the solids in the oral
   mg /ml, about 0.93 mg/ml, about 0.94 mg /ml, about 0.95 liquid formulation . In some embodiments, enalapril is pres
   mg /ml, about 0.96 mg /ml, about 0.97 mg/ml, about 0.98 ent in about 18.2 % w/w of the solids in the oral liquid
   mg/ml, about 0.99 mg/ml , about 1 mg /ml, about 1.01 mg/ml, formulation . In some embodiments, enalapril maleate is
   about 1.02 , mg /ml, about 1.03 mg/ml, about 1.04 mg /ml, present in about 13.5 % w / w of the solids in the oral liquid
   about 1.05 mg/ml, about 1.06 mg/ml, about 1.07 mg/ml, 10 formulation. In some embodiments, enalapril maleate is
   about 1.08 mg /ml, about 1.09 mg /ml, about 1.1 mg/ml, present in about 19.3 % w / w of the solids in the oral liquid
   about 1.11 mg /ml, about 1.12 , mg/ml , about 1.13 mg/ml, formulation . In some embodiments, enalapril maleate is
   about 1.14 mg/ml, about 1.15 mg/ml, about 1.16 mg/ml, present in about 24.5 % w / w of the solids in the oral liquid
   about 1.17 mg /ml, about 1.18 mg/ml, about 1.19 mg/ml, or formulation .
   about 1.2 mg /ml in the liquid oral formulation . In some 15 In some embodiments, enalapril or a pharmaceutically
   embodiments, enalapril is present in about 0.76 mg/ml in the acceptable salt thereof, is present in about 0.1 % w/w to
   oral liquid formulation. In some embodiments, enalapril about 1 % w / w of the solids in the oral liquid formulation . In
   maleate is present in about 1 mg/ml in the oral liquid other embodiments, enalapril or a pharmaceutically accept
   formulation . In some embodiments , the formulation con-              able salt thereof, is present in about 0.1 % w / w , about 0.15 %
   tains enalapril or another pharmaceutically acceptable salt of 20 w / w , about 0.2 % w / w , about 0.25 % w / w , about 0.3 % w / w ,
   enalapril in molar concentration equivalent to 1 mg/mL                about 0.35 % w / w , about 0.4 % w / w , about 0.45 % w / w , about
   enalapril maleate . In some embodiments, the formulation              0.5 % w / w , about 0.55 % w / w , about 0.6 % w / w , about 0.65 %
   contains enalapril or another pharmaceutically acceptable             w / w , about 0.7 % w / w , about 0.75 % v / w , about 0.8 % w / w ,
   salt of enalapril in a molar concentration equivalent to 0.76         about 0.85 % w / w , about 0.9 % w / w , about 0.95 % w / w , or
   mg/mL enalapril.                                              25      about 1 % w / w of the solids in the oral liquid formulation . In
      In some embodiments , enalapril or a pharmaceutically              some embodiments, enalapril or a pharmaceutically accept
   acceptable salt thereof, is present in about 0.5 % w/w to             able salt thereof, is present in about 0.4 % w / w to about 0.7 %
   about 30 % w/w of the solids in the oral liquid formulation .         w / w of the solids in the oral liquid formulation . In some
   In other embodiments, enalapril or a pharmaceutically                 embodiments, enalapril is present in about 0.4 % w/w of the
   acceptable salt thereof, is present in about 0.5 % w /w , about 30 solids in the oral liquid formulation. In some embodiments,
   1 % w / w , about 1.5 % w / w , about 2 % w / w , about 2.5 % w / w , enalapril is present in about 0.5 % w / w of the solids in the
   about 3 % w / w , about 3.5 % w / w , about 4 % w / w , about 4.5 % oral liquid formulation . In some embodiments, enalapril
   w / w , about 5 % w / w , about 5.5 % w / w , about 6 % w / w , about maleate is present in about 0.5 % w / w of the solids in the oral
   6.5 % w / w , about 7 % w / w , about 7.5 % w / w , about 8 % w / w , liquid formulation. In some embodiments, enalapril maleate
   about 8.5 % w / w , about 9 % w / w , about 9.5 % w / w , about 10 % 35 is present in about 0.6 % w / w of the solids in the oral liquid
   w / w , about 10.5 % w / w , about 11 % w / w , about 11.5 % w / w , formulation .
   about 12 % w / w , about 12.5 % w / w , about 13 % w / w , about
   13.5 % w / w , about 14 % w / w , about 14.5 % w / w , about 15 %                  Sweetener in the Enalapril Oral Liquid
   w / w , about 15.1 % w / w , about 15.2 % w / w , about 15.3 % w / w ,                           Formulations
   about 15.4 % w / w , about 15.5 % w / w , about 15.6 % w / w , 40
   about 15.7 % w / w , about 15.8 % w / w , about 15.9 % w / w ,             Sweeteners or sweetening agents include any compounds
   about 16 % w / w , about 16.1 % w / w , about 16.2 % w / w , about that provide a sweet taste . This includes natural and syn
   16.3 % w / w , about 16.4 % w / w , about 16.5 % w / w , about thetic sugars , natural and artificial sweeteners , natural
   16.6 % w / w , about 16.7 % w / w , about 16.8 % w / w , about extracts and any material that initiates a sweet sensation in
   16.9 % w / w , about 17 % w / w , about 17.1 % w / w , about 17.2 % 45 a subject. In some embodiments, a solid /powder sweetener
   w / w , about 17.3 % w / w , about 17.4 % w / w , about 17.5 % w / w , is used in the oral liquid formulation described herein . In
   about 17.6 % w / w , about 17.7 % w / w , about 17.8 % w / w , other embodiments, a liquid sweetener is used in the oral
   about 17.9 % w / w , about 18 % w / w , about 18.1 % w / w , about liquid formulation described herein .
   18.2 % w / w , about 18.3 % w / w , about 18.4 % w / w , about            Sugars illustratively include glucose , fructose, sucrose ,
   18.5 % w / w , about 18.6 % w / w , about 18.7 % w / w , about 50 xylitol , tagatose , sucralose, maltitol , isomaltulose , IsomaltTM
   18.8 % w / w , about 18.9 % w / w , about 19 % w / w , about 19.1 % ( hydrogenated isomaltulose ) , lactitol , sorbitol, erythritol,
   w / w , about 19.2 % w / w , about 19.3 % w / w , about 19.4 % w / w , trehalose , maltodextrin , polydextrose, and the like . Other
   about 19.5 % w / w , about 19.6 % w / w , about 19.7 % w / w , sweeteners illustratively include glycerin , inulin , erythritol,
   about 19.8 % w / w , about 19.9 % w / w , about 20 % w / w , about maltol , acesulfame and salts thereof, e.g. , acesulfame potas
   20.1 % w / w , about 20.2 % w / w , about 20.3 % w / w , about 55 sium , alitame , aspartame, neotame, sodium cyclamate, sac
   20.4 % w / w , about 20.5 % w / w , about 20.6 % w / w , about charin and salts thereof, e.g. , saccharin sodium or saccharin
   20.7 % w / w , about 20.8 % w / w , about 20.9 % w / w , about 21 % calcium , neohesperidin dihydrochalcone, stevioside, thau
   w / w , about 21.1 % w / w , about 21.2 % w / w , about 21.3 % w / w , matin , and the like . Sweeteners can be used in the form of
   about 21.4 % w / w , about 21.5 % w / w , about 21.6 % w / w , crude or refined products such as hydrogenated starch
   about 21.7 % w / w , about 21.8 % w /w , about 21.9 % w /w , 60 hydrolysates, maltitol syrup , high fructose corn syrup , etc.,
   about 22 % w / w , about 22.5 % w / w , about 23 % w / w , about and as branded products, e.g. , Sweet AmTM liquid ( Product
   23.5 % w / w , about 24 % w / w , about 24.5 % w / w , about 25 % Code 918.003 —-propylene glycol , ethyl alcohol , and pro
   w / w , about 25.5 % w / w , about 26 % w / w , about 26.5 % w / w , prietary artificial flavor combination , Flavors of North
   about 27 % w / w , about 27.5 % w / w , about 28 % w / w , about America ) and Sweet AmTM powder ( Product Code
   28.5 % w / w , about 29 % w / w , about 29.5 % w / w , or about 65 918.005 maltodextrin , sorbitol, and fructose combination
   30 % w/w of the solids in the oral liquid formulation . In some and Product Code 918.010_water, propylene glycol , sor
   embodiments, enalapril or a pharmaceutically acceptable bitol , fructose, and proprietary natural and artificial flavor
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                                                            US 10,918,621 B2
                                   9                                                                            10
   combination , Flavors of North America ), ProSweetTM                            In some embodiments, the enalapril oral liquid formula
   ( 1-10 % proprietary plant /vegetable extract and 90-99 % dex-               tion described herein comprises xylitol . In some embodi
   trose combination , Viriginia Dare ), MaltisweetTM (maltitol                 ments, xylitol is present in about 140 mg/ml to about 210
   solution , Ingredion ), SorboTM ( sorbitol and sorbitol/xylitol              mg/ml in the oral liquid formulation .
   solution, SPI Polyols ) , InvertoseTM ( high fructose corn              5
                                                                                   In some embodiments, xylitol is present in about 140
   syrup , Ingredion ), Rebalance M60 and X60 ( sucralose and                   mg/ml, about 145 mg /ml, about 150 mg /ml, about 155
   maltodextrin , Tate and Lyle ), and Ora - Sweet® sugar - free                mg /ml, about 160 mg/ml, about 165 mg /ml, about 170
   flavored syrup (Paddock Laboratories, Inc. ) . Sweeteners can                mg /ml, about 175 mg /ml, about 180 mg /ml, about 185
   be used singly or in combinations of two or more . Suitable             10   mg/ml, about 190 mg /ml, about 195 mg/ml, about 200
   concentrations of different sweeteners can be selected based                 mg/ml, about 205 mg /ml, or about 210 mg/ml of the oral
   on published information , manufacturers ' data sheets and by                liquid formulation . In some embodiments, xylitol is present
   routine testing.                                                             in about 150 mg /ml in the oral liquid formulation . In some
      In some embodiments , the enalapril oral liquid formula-                  embodiments, xylitol is present in about 200 mg/ml in the
   tion described herein comprises a sweetening agent. In some             15   oral liquid formulation .
   embodiments, the sweetening agent is sucralose . In some                        In some embodiments, xylitol is present in about 80 %
   embodiments, the sweetening agent is xylitol . In some                       w / w to about 99 % w/w of the solids in the oral liquid
   embodiments, the sweetener is not mannitol.                                  formulation . In other embodiments, xylitol is present in
     In some embodiments, the enalapril oral liquid formula-                    about 80% w/w about 81 % w / w , about 82 % w / w , about 83 %
   tion described herein comprises sucralose. In some embodi- 20 w / w , about 84 % w / w , about 85 % w / w , about 86 % w / w ,
   ments, sucralose is present in about 0.5 to about 0.9 mg/ml about 87 % w / w , about 88 % w / w , about 89 % w / w , about 90 %
   in the oral liquid formulation . In other embodiments , sucral- w / w , about 91 % w / w , about 92 % w / w , about 93 % w / w ,
   ose is present in about 0.51 mg /ml, about 0.52 mg/ml, about about 94 % w / w , about 95 % w / w , about 96 % w / w , about 97 %
   0.53 mg/ml, about 0.54 mg/ml, about 0.55 mg/ml, about w / w , about 98 % w / w , or about 99 % w / w of the solids in the
   0.56 mg/ml, about 0.57 mg/ml, about 0.58 mg/ml, about 25 oral liquid formulation . In some embodiments , xylitol is
   0.59 mg/ml, about 0.60 mg /ml, about 0.61 mg/ml, about present in about 96 % w / w to about 98 % w / w of the solids
   0.62 mg/ml, about 0.63 mg /ml, about 0.64 mg/ml, about in the oral liquid formulation . In some embodiments, xylitol
   0.65 mg/ml, about 0.66 mg /ml, about 0.67 mg /ml, about is present in about 96 % w/w of the solids in the oral liquid
   0.68 mg /ml, about 0.69 mg/ml, about 0.70 mg /ml, about formulation .
   0.71 mg /ml, about 0.72 mg/ml, about 0.73 mg /ml, about 30
   0.74 mg/ml, about 0.75 mg /ml, about 0.76 mg/ml, about                     Preservative in the Enalapril Oral Liquid
   0.77 mg /ml, about 0.78 mg/ml, about 0.79 mg /ml, about                              Formulations
   0.80 mg/ml, about 0.81 mg /ml, about 0.82 mg/ml, about
   0.83 mg/ml, about 0.84 mg /ml, about 0.85 mg /ml, about       Preservatives include anti-microbials , anti -oxidants, and
   0.86 mg/ml, about 0.87 mg/ml, about 0.88 mg/ml, about 35 agents that enhance sterility . Exemplary preservatives
   0.89 mg/ml, or about 0.90 mg/ml in the oral liquid formu- include ascorbic acid , ascorbyl palmitate, BHA , BHT, citric
   lation . In some embodiments, sucralose is present in about acid, EDTA and its salts , erythorbic acid, fumaric acid , malic
   0.7 mg/ml in the oral liquid formulation.                   acid, propyl gallate , sodium ascorbate , sodium bisulfate ,
      In some embodiments , sucralose is present in about 1 % sodium metabisulfite , sodium sulfite , parabens ( such as
   w/w to about 30% w / w of the solids in the oral liquid 40 methylparaben , ethylparaben , propylparaben, butylparaben
   formulation . In some embodiments, sucralose is present in and their salts ) , benzoic acid , sodium benzoate, potassium
   about 1 % w / w , about 1.5 % w / w , about 2 % w / w , about 2.5 %          sorbate, vanillin , and the like .
   w / w , about 3 % w / w , about 3.5 % w / w , about 4 % w / w , about          In some embodiments , the enalapril oral liquid formula
   4.5 % w / w , about 5 % w / w , about 5.5 % w / w , about 6 % w / w ,        tion described herein comprises a preservative .
   about 6.5 % w / w , about 7 % w / w , about 7.5 % w / w , about 8 %     45      In some embodiments , the preservative is a paraben and
   w / w , about 8.5 % w / w , about 9 % w / w , about 9.5 % w / w ,            the sweetener is not a sugar ( such as , but not limited to
   about 10 % w / w , about 10.5 % w / w , about 11 % w / w , about             glucose , fructose , sucrose, lactose , maltose ) or a sugar
   11.5 % w / w , about 12 % w / w , about 12.5 % w / w , about 13 %            alcohol ( such as , but not limited to xylitol , mannitol, lactitol ,
   w / w , about 13.5 % w / w , about 14 % w / w , about 14.5 % w / w ,         maltitol , sorbitol ).
   about 15 % w / w , about 15.5 % w / w , about 16 % w / w , about        50      In some embodiments, the preservative is sodium benzo
   16.5 % w / w , about 17 % w / w , about 17.5 % w / w , about 18 %            ate .
   w / w , about 18.5 % w / w , about 19 % w / w , about 19.5 % w / w ,            In some embodiments, modulation of the pH is desired to
   about 20 % w / w , about 20.5 % w / w , about 21 % w / w , about             provide the best antimicrobial activity of the preservative,
   21.5 % w / w , about 22 % w / w , about 22.5 % w / w , about 23 %            sodium benzoate. In some embodiments, the antimicrobial
   w / w , about 23.5 % w / w , about 24 % w / w , about 24.5 % w / w ,    55   activity of sodium benzoate drops when the pH is increased
   about 25 % w / w , about 25.5 % w / w , about 26 % w / w , about             above 5 .
   26.5 % w / w , about 27 % w / w , about 27.5 % w / w , about 28 %               In some embodiments, the pH of the enalapril oral liquid
   w / w , about 28.5 % w / w , about 29 % w / w , about 29.5 % w / w ,         formulation described herein is less than about 4. In some
   or about 30% w / w of the solids in the oral liquid formula-                 embodiments , the pH of the enalapril oral liquid formulation
   tion . In some embodiments, sucralose is present in about 8 %           60   described herein is less than about 3.5 . In some embodi
   w/w to about 18 % w / w of the solids in the oral liquid                     ments, the pH of the enalapril oral liquid formulation
   formulation . In some embodiments, sucralose is present in                   described herein is between about 3 and about 4. In some
   about 9.5 % w / w of the solids in the oral liquid formulation .             embodiments , the pH of the enalapril oral liquid formulation
   In some embodiments, sucralose is present in about 13.5 %                    described herein is between about 3 and about 3.5 . In some
   w/w of the solids in the oral liquid formulation . In some              65   embodiments , the pH of the enalapril oral liquid formulation
   embodiments, sucralose is present in about 16.5 % w / w of                   described herein is about 3 , about 3.1 , about 3.2 , about 3.3 ,
   the solids in the oral liquid formulation .                                  about 3.4 , about 3.5 , about 3.6 , about 3.7 , about 3.8 , about
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                                                          US 10,918,621 B2
                                  11                                                                         12
   3.9 , or about 4. In some embodiments, the pH of the                     about 19.4 % w / w , about 19.5 % w / w , about 19.6 % w / w ,
   enalapril oral liquid formulation described herein is about              about 19.7 % w / w , about 19.8 % w / w , about 19.9 % w / w ,
   3.3 .                                                                    about 20% w / w , about 20.1 % w / w , about 20.2 % w / w , about
      In some embodiments, sodium benzoate is present in                    20.3 % w / w , about 20.4 % w / w , about 20.5 % w / w , about
   about 0.2 to about 1.2 mg /ml in the oral liquid formulation. 5          20.6 % w / w , about 20.7 % w / w , about 20.8 % w / w , about
   In other embodiments, sodium benzoate is present in about                20.9 % w / w , about 21 % w / w , about 21.1 % w / w , about 21.2 %
   0.2 mg/ml, about 0.21 mg/ml, about 0.22 mg/ml, about 0.23                w / w , about 21.3 % w / w , about 21.4 % w / w , about 21.5 % w / w ,
   mg/ml, about 0.24 mg /ml, about 0.25 mg/ml, about 0.26                   about 21.6 % w / w , about 21.7 % w / w , about 21.8 % w / w ,
   mg/ml, about 0.27 mg /ml, about 0.28 mg/ml, about 0.29                   about 21.9 % w / w , about 22 % w / w , about 22.5 % w / w , about
   mg /ml, about 0.3 mg/ml, about 0.31 mg /ml, about 0.32                10 23 % w / w , about 23.5 % w / w , about 24 % w / w , about 24.5 %
   mg/ml, about 0.33 mg/ml, about 0.34 mg/ml, about 0.35                    w / w , about 25 % w / w , about 25.5 % w / w , about 26 % w / w ,
   mg/ml, about 0.36 mg/ml, about 0.37 mg/ml, about 0.38                    about 26.5 % w / w , about 27 % w / w , about 27.5 % w / w , about
   mg/ml, about 0.39 mg/ml, about 0.4 mg/ml, about 0.41                     28 % w / w , about 28.5 % w / w , about 29 % w / w , about 29.5 %
   mg /ml, about 0.42 mg/ml, about 0.43 mg /ml, about 0.44                  w / w , or about 30 % w / w of the solids in the oral liquid
   mg/ml, about 0.45 mg /ml, about 0.46 mg /ml, about 0.47               15 formulation . In some embodiments, sodium benzoate is
   mg/ml, about 0.48 mg/ml, about 0.49 mg /ml, about 0.5                    present in about 10 % w / w to about 25 % w / w of the solids
   mg/ml, about 0.51 mg /ml, about 0.52 mg /ml, about 0.53                  in the oral liquid formulation . In some embodiments, sodium
   mg /ml, about 0.54 mg/ml, about 0.55 mg /ml, about 0.56                  benzoate is present in about 13.5 % w/w of the solids in the
   mg /ml, about 0.57 mg/ml, about 0.58 mg /ml, about 0.59                  oral liquid formulation . In some embodiments, sodium ben
   mg/ml, about 0.6 mg /ml, about 0.61 mg/ml, about 0.62                 20 zoate is present in about 19.3 % w / w of the solids in the oral
   mg/ml, about 0.63 mg/ml, about 0.64 mg/ml, about 0.65                    liquid formulation . In some embodiments, sodium benzoate
   mg/ml, about 0.66 mg/ml, about 0.67 mg/ml, about 0.68                    is present in about 23.5 % w / w of the solids in the oral liquid
   mg /ml, about 0.69 mg /ml, about 0.7 mg /ml, about 0.71                  formulation .
   mg/ml, about 0.72 mg /ml, about 0.73 mg/ml, about 0.74                      In some embodiments , sodium benzoate is present in
   mg/ml, about 0.75 mg/ml, about 0.76 mg/ml, about 0.77                 25 about 0.1 % w / w to about 1 % w / w of the solids in the oral
   mg/ml, about 0.78 mg /ml, about 0.79 mg/ml, about 0.8                    liquid formulation . In other embodiments, sodium benzoate
   mg/ml, about 0.81 mg /ml, about 0.82 mg /ml, about 0.83                  is present in about 0.1 % w / w , about 0.15 % w/w, about 0.2 %
   mg /ml, about 0.84 mg/ml, about 0.85 mg/ml, about 0.86 w / w , about 0.25 % w / w , about 0.3 % w / w , about 0.35 % w / w ,
   mg /ml, about 0.87 mg /ml, about 0.88 mg/ml, about 0.89 about 0.4 % w / w , about 0.45 % w / w , about 0.5 % w / w , about
   mg/ml, about 0.9 mg /ml, about 0.91 mg /ml, about 0.92 30 0.55 % w / w , about 0.6 % w / w , about 0.65 % w / w , about 0.7 %
   mg /ml, about 0.93 mg/ml, about 0.94 mg /ml, about 0.95 w / w , about 0.75 % w / w , about 0.8 % w / w , about 0.85 % w / w ,
   mg /ml, about 0.96 mg/ml, about 0.97 mg/ml, about 0.98 about 0.9 % w / w , about 0.95 % w / w , or about 1 % w / w of the
   mg/ml, about 0.99 mg/ml , about 1 mg/ml, about 1.01 mg/ml, solids in the oral liquid formulation. In some embodiments,
   about 1.02 , mg /ml, about 1.03 mg /ml, about 1.04 mg /ml, sodium benzoate is present in about 0.4 % w/w to about 0.7 %
   about 1.05 mg/ml, about 1.06 mg /ml, about 1.07 mg /ml, 35 w / w of the solids in the oral liquid formulation . In some
   about 1.08 mg/ml, about 1.09 mg /ml, about 1.1 mg/ml, embodiments, sodium benzoate is present in about 0.45 %
   about 1.11 mg/ml, about 1.12 , mg/ml , about 1.13 mg /ml, w / w of the solids in the oral liquid formulation . In some
   about 1.14 mg/ml, about 1.15 mg/ml, about 1.16 mg/ml, embodiments, sodium benzoate is present in about 0.6 %
   about 1.17 mg /ml, about 1.18 mg /ml, about 1.19 mg/ml, or w / w of the solids in the oral liquid formulation.
   about 1.2 mg /ml in the liquid oral formulation . In some 40 In some embodiments, sodium benzoate is present in an
   embodiments , sodium benzoate is present in about 1 mg/ml amount sufficient to provide antimicrobial effectiveness to
   in the oral liquid formulation .                                      the enalapril oral liquid formulation described herein . ( See
      In some embodiments, sodium benzoate is present in Table G- 1 ) .
   about 1 % w/w to about 30 % w/w of the solids in the oral                In some embodiments, the preservative is a paraben . In
   liquid formulation . In other embodiments, sodium benzoate 45 some embodiments, the preservative is a mixture of para
   is present in about 1 % w / w , about 1.5 % w / w , about 2 % w / w , bens. In some embodiments, the paraben or mixture of
   about 2.5 % w / w , about 3 % w / w , about 3.5 % w / w , about 4 %      parabens is present in about 0.1 mg /ml to about 2 mg /ml in
   w / w , about 4.5 % w / w , about 5 % w / w , about 5.5 % w / w ,        the oral liquid formulation . In other embodiments , the
   about 6 % w / w , about 6.5 % w / w , about 7 % w / w , about 7.5 % paraben or mixture of parabens is present in about 0.1
   w / w , about 8 % w / w , about 8.5 % w / w , about 9 % w / w , about 50 mg/ml, about 0.2 mg/ml, about 0.3 mg/ml , about 0.4 mg/ml,
   9.5 % w / w , about 10% w / w , about 10.5 % w / w , about 11 % about 0.5 mg/ml, about 0.6 mg/ml, about 0.7 mg /ml, about
   w / w , about 11.5 % w / w , about 12 % w / w , about 12.5 % w / w , 0.8 mg/ml, about 0.9 mg/ml, about 1 mg/ml, about 1.1
   about 13 % w / w , about 13.5 % w / w , about 14 % w / w , about mg /ml, about 1.2 mg /ml, about 1.3 mg/ml , about 1.4 mg /ml,
   14.5 % w / w , about 15 % w / w , about 15.1 % w / w , about 15.2 % or about 1.5 mg /ml, about 1.6 mg/ml, about 1.7 mg/ml,
   w / w , about 15.3 % w / w , about 15.4 % w / w , about 15.5 % w / w , 55 about 1.8 mg/ml, about 1.9 mg /ml, or about 2 mg /ml in the
   about 15.6 % w / w , about 15.7 % w / w , about 15.8 % w / w , liquid oral formulation . In some embodiments, the paraben
   about 15.9 % w / w , about 16 % w / w , about 16.1 % w / w , about or mixture ofparabens is present in about 1.6 mg/ml to about
   16.2 % w / w , about 16.3 % w / w , about 16.4 % w / w , about 2 mg /ml in the oral liquid formulation . In some embodi
   16.5 % w / w , about 16.6 % w / w , about 16.7 % w / w , about ments, the paraben or mixture of parabens is present in about
   16.8 % w / w , about 16.9 % w / w , about 17 % w / w , about 17.1 % 60 1.6 mg /ml to about 1.8 mg/ml in the oral liquid formulation .
   w / w , about 17.2 % w / w , about 17.3 % w / w , about 17.4 % w / w , In some embodiments, the paraben or mixture of parabens is
   about 17.5 % w / w , about 17.6 % w / w , about 17.7 % w / w , present in about 0.1 mg /ml to about 0.5 mg/ml in the oral
   about 17.8 % w / w , about 17.9 % w / w , about 18 % w / w , about liquid formulation.
   18.1 % w / w , about 18.2 % w / w , about 18.3 % w / w , about           In some embodiments, the paraben or mixture of parabens
   18.4 % w / w , about 18.5 % w / w , about 18.6 % w / w , about 65 is present in about 2 % w / w to about 30% w/w of the solids
   18.7 % w / w , about 18.8 % w / w , about 18.9 % w / w , about 19 % in the oral liquid formulation. In other embodiments , the
   w / w , about 19.1 % w / w , about 19.2 % w / w , about 19.3 % w / w , paraben or mixture of parabens is present in about 2 % w / w ,
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                                                        US 10,918,621 B2
                                 13                                                                     14
   about 3 % w / w , about 4 % w / w , about 5 % w / w , about 6 % citric acid and sodium citrate dihydrate or an equivalent
   w / w , about 7 % w / w , about 8 % w / w , about 9 % w / w , about molar amount of sodium citrate anhydrous. In some embodi
   10 % w / w , about 11 % w / w , about 12 % w / w , about 13 % w / w , ments , the sodium citrate is monosodium citrate . In some
   about 14 % w / w , about 15 % w / w , about 16 % w / w , about 17 % embodiments, the sodium citrate is disodium citrate. In some
   w / w , about 18 % w / w , about 19 % w / w , about 20 % w / w , 5 embodiments , the sodium citrate is trisodium citrate .
   about 21 % w / w , about 22 % w / w , about 23 % w / w , about 24 %     In some embodiments , the buffer in the enalapril oral
   w / w , about 25 % w / w , about 26 % w / w , about 27 % w / w , liquid formulation described herein comprises phosphoric
   about 28 % w / w , about 29 % w / w , or about 30 % w / w of the acid . In some embodiments, the buffer in the enalapril oral
   solids in the oral liquid formulation . In some embodiments, liquid formulation described herein comprises sodium phos
   the paraben or mixture of parabens is present in about 2 % 10 phate .
   w/w to about 3 % w / w of the solids in the oral liquid          In some embodiments, modulation of the pH is desired to
   formulation . In some embodiments , the paraben or mixture provide a lowered impurity profile. In the exemplary stabil
   of parabens is present in about 23 % w/w to about 26 % w / w ity studies, the main enalapril degradants are enalapril
   of the solids in the oral liquid formulation . In some embodi diketopiperazine and enalaprilat:
   ments, the paraben or mixture of parabens is present in about 15
   26 % w / w to about 30 % w/w of the solids in the oral liquid
   formulation .
             Sweetener and preservative incompatibility
                                                                     20
      Paraben preservatives ( especially methylparaben ) can
   react with selected sugars ( glucose , fructose, sucrose , lac                                                         0;
   tose , maltose) and sugar alcohols (xylitol, mannitol, lactitol ,
   maltitol , sorbitol) to form transesterification reaction prod
   ucts . This can be undesirable from a formulation and sta- 25
   bility standpoint as the transesterification creates additional
   degradants.
      In some embodiments , the enalapril oral liquid formula                                enalapril diketopiperazine
   tion described herein does not comprise a paraben preser
   vative . In further embodiments , the enalapril oral liquid 30
   formulation described herein does not comprise a paraben
   preservative when the formulation also comprises a sugar or
   sugar alcohol .
                                                                                                        CH3
            pH of Enalapril Oral Liquid Formulations                35
                                                                                     HO
     Buffering agents maintain the pH of the liquid enalapril
   formulation. Non - limiting examples of buffering agents
   include , but are not limited to sodium bicarbonate, potas                                                      HO
   sium bicarbonate, magnesium hydroxide, magnesium lac- 40                                         enalaprilat
   tate , magnesium glucomate, aluminum hydroxide, alumi
   num hydroxide / sodium bicarbonate co -precipitate, mixture
   of an amino acid and a buffer, a mixture of aluminum                In some embodiments, the percentage of enalaprilat for
   glycinate and a buffer, a mixture of an acid salt of an amino mation is increased when the pH is above 3.5 . ( See table C - 2
   acid and a buffer, and a mixture of an alkali salt of an amino 45 and FIG . 1 and FIG . 2 ) . In some embodiments, the percent
   acid and a buffer. Additional buffering agents include citric age of enalapril diketopiperazine formation is slightly
   acid, sodium citrate, sodium tartarate, sodium acetate , increased as the pH is below 4 .
   sodium carbonate , sodium polyphosphate, potassium poly-            In some embodiments, the pH of the enalapril oral liquid
   phosphate , sodium pyrophosphate, potassium pyrophos-                  formulation described herein is less than about 4. In some
   phate, disodium hydrogenphosphate, dipotassium hydrogen- 50 embodiments, the pH of the enalapril oral liquid formulation
   phosphate , trisodium phosphate , tripotassium phosphate, described herein is less than about 3.5 . In some embodi
   sodium acetate, potassium metaphosphate, magnesium ments, the pH of the enalapril oral liquid formulation
   oxide , magnesium hydroxide, magnesium carbonate, mag- described herein is between about 3 and about 4. In some
   nesium silicate , calcium acetate , calcium glycerophosphate, embodiments , the pH of the enalapril oral liquid formulation
   calcium chloride, calcium hydroxide, calcium lactate, cal- 55 described herein is between about 3 and about 3.5 . In some
   cium carbonate, calcium bicarbonate , and other calcium embodiments, the pH of the enalapril oral liquid formulation
   salts . Some buffering agents also impart effervescent quali- described herein is about 3 , about 3.1 , about 3.2 , about 3.3 ,
   ties when a powder is reconstituted in a solution . In some about 3.4 , about 3.5 , about 3.6 , about 3.7 , about 3.8 , about
   embodiments , the buffering agent is not sodium bicarbonate . 3.9 , or about 4. In some embodiments, the pH of the
      In some embodiments, the oral liquid formulation com- 60 enalapril oral liquid formulation described herein is about
   prises a buffer.                                               3.3 .
      In some embodiments, the buffer in the enalapril oral          In some embodiments , the formation of degradants is
   liquid formulation described herein comprises citric acid . In dependent on the buffer concentration . In some embodi
   some embodiments, the buffer in the enalapril oral liquid ments, the buffer concentration impacts the taste of the
   formulation described herein comprises citric acid and 65 enalapril oral liquid formulation .
   sodium citrate . In some embodiments , the buffer in the                 In some embodiments, the buffer concentration is
   enalapril oral liquid formulation described herein comprises           between about 5 mM and about 20 mM . In some embodi
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                                   15                                                                           16
   ments, the buffer concentration is about 5 mM , about 6 mM ,                mg/mL , about 3.15 mg/mL, about 3.2 mg/mL , about 3.25
   about 7 mM , about 8 mM , about 9 mm , about 10 mM , about                  mg /mL , about 3.3 mg/mL , about 3.35 mg/mL , about 3.4
   11 mM , about 12 mM , about 13 mm , about 14 mM , about                     mg/mL, about 3.45 mg/mL , or about 3.5 mg /mL in the oral
   15 mM , about 16 mM , about 17 mM , about 18 mM , about                     liquid formulation . In some embodiments, citric acid is
   19 mM , or about 20 mM . In some embodiments, the buffer 5                  present in about 3.3 mg /ml in the oral liquid formulation .
   concentration is about 5 mM . In some embodiments , the                        In some embodiments, citric acid is present in about 10 %
   buffer concentration is about 10 mM . In some embodiments,                  w / w to about 50 % w/w of the solids in the oral liquid
   the buffer concentration is about 20 mM .                                   formulation . In other embodiments, citric acid is present in
      In some embodiments, citric acid is present in about 0.7                 about 10% w / w , about 11 % w / w , about 12 % w / w , about 13 %
   to about 2 mg /ml in the oral liquid formulation. In other 10 w / w , about 14 % w / w , about 15 % w / w , about 16 % w / w ,
   embodiments, citric acid is present in about 0.7 mg/ml, about 17 % w / w , about 18 % w / w , about 19 % w / w , about 20 %
   about 0.71 mg /ml, about 0.72 mg /ml, about 0.73 mg/ml, w / w , about 21 % w / w , about 22 % w / w , about 23 % w / w ,
   about 0.74 mg /ml, about 0.75 mg/ml, about 0.76 mg /ml, about 24 % w / w , about 25 % w / w , about 26 % w / w , about 27 %
   about 0.77 mg/ml, about 0.78 mg/ml, about 0.79 mg /ml, w / w , about 28 % w / w , about 29 % w / w , about 30 % w / w ,
   about  0.8 mgmg/ml
   about 0.83      /ml,, about
                         about 0.81
                                0.84 mg
                                     mg//ml
                                         ml,, about
                                              about 0.82 mg//ml
                                                    0.85 mg  ml,, 15 wabout   31 % w 35/w,%about
                                                                        / w , about          w / w ,32about
                                                                                                       % w /w36, about
                                                                                                                  % w /33w , %about
                                                                                                                               w /w, about
                                                                                                                                     37 % w34/ %w ,
   about 0.86 mg/ml, about 0.87 mg/ml, about 0.88 mg/ml, about 38 % w / w , about 39 % w / w , about 40 % w / w , about 41 %
   about 0.89 mg/ml, about 0.9 mg /mL , about 0.91 mg /mL , w / w , about 42 % w / w , about 43 % w / w , about 44 % w / w ,
   about 0.92 mg/mL , about 0.93 mg /mL , about 0.94 mg /mL , about 45 % w / w , about 46 % w / w , about 47 % w / w , about 48 %
   about 0.95 mg /mL , about 0.96 mg/mL , about 0.97 mg/mL , 20 w / w , about 49 % w /w , about 50 % w/w of the solids in the oral
   about 0.98 mg/mL , about 0.99 mg/mL , about 1 mg /mL , liquid formulation . In some embodiments, citric acid is
   about 1.11 mg/ml, about 1.12 mg/ml, about 1.13 mg/ml, present in about 45 % w/w of the solids in the oral liquid
   about 1.14 mg /ml, about 1.15 mg /ml, about 1.16 mg/ml, formulation . In some embodiments, citric acid is present in
   about 1.17 mg/ml, about 1.18 mg/ml, about 1.19 mg /ml, about 31 % w / w of the solids in the oral liquid formulation.
   about 1.2 mg/ml, about 1.21 mg/ml, about 1.22 mg /ml, 25 In some embodiments, citric acid is present in about 35 %
   about 1.23 mg/ml, about 1.24 mg/ml, about 1.25 mg /ml, w / w of the solids in the oral liquid formulation . In some
   about 1.26 mg/ml, about 1.27 mg /ml, about 1.28 mg/ml, embodiments, citric acid is present in about 19 % w/w of the
   about 1.29 mg/ml, about 1.3 mg /mL, about 1.31 mg /mL, solids in the oral liquid formulation.
   about 1.32 mg/mL , about 1.33 mg/mL , about 1.34 mg /mL ,       In some embodiments , citric acid is present in about 1 %
   about 1.35 mg /mL , about 1.36 mg/mL , about 1.37 mg/mL , 30 w / w to about 5 % w/w of the solids in the oral liquid
   about 1.38 mg /mL , about 1.39 mg /mL , about 1.4 mg/ml, formulation . In other embodiments, citric acid is present in
   about 1.41 mg/ml, about 1.42 mg/ml, about 1.43 mg/ml, about 1 % w / w , about 1.1 % w / w , about 1.2 % w / w , about
   about 1.44 mg/ml, about 1.45 mg /ml, about 1.46 mg/ml, 1.3 % w / w , about 1.4 % w / w , about 1.5 % w / w , about 1.6 %
   about 1.47 mg /ml, about 1.48 mg /ml, about 1.49 mg/ml, w / w , about 1.7 % w / w , about 1.8 % w / w , about 1.9 % w / w ,
   about 1.5 mg/ml, about 1.51 mg/ml, about 1.52 mg/ml, 35 about 2 % w / w , about 2.1 % w / w , about 2.2 % w / w , about
   about 1.53 mg/ml, about 1.54 mg /ml, about 1.55 mg /ml, 2.3 % w / w , about 2.4 % w / w , about 2.5 % w / w , about 2.6 %
   about 1.56 mg/ml, about 1.57 mg /ml, about 1.58 mg /ml, w / w , about 2.7 % w / w , about 2.8 % w / w , about 2.9 % w / w ,
   about 1.59 mg /ml, about 1.6 mg /mL , about 1.61 mg /mL , about 3 % w / w , about 3.1 % w / w , about 3.2 % w / w , about
   about 1.62 mg/mL , about 1.63 mg/mL , about 1.64 mg /mL , 3.3 % w / w , about 3.4 % w / w , about 3.5 % w / w , about 3.6 %
   about 1.65 mg/mL, about 1.66 mg/mL , about 1.67 mg/mL, 40 w / w , about 3.7 % w / w , about 3.8 % w / w , about 3.9 % w / w ,
   about 1.68 mg /mL , about 1.69 mg/mL, about 1.7 mg/ml, about 4 % w / w , about 4.1 % w / w , about 4.2 % w / w , about
   about 1.71 mg/ml, about 1.72 mg/ml, about 1.73 mg/ml, 4.3 % w / w , about 4.4 % w / w , about 4.5 % w / w , about 4.6 %
   about 1.74 mg/ml, about 1.75 mg/ml, about 1.76 mg /ml,                      w / w , about 4.7 % w / w , about 4.8 % w / w , about 4.9 % w / w , or
   about 1.77 mg/ml, about 1.78 mg /ml, about 1.79 mg /ml,                     about 5 % w / w of the solids in the oral liquid formulation . In
   about 1.8 mg/ml, about 1.81 mg/ml, about 1.82 mg/ml,                  45    some embodiments, citric acid is present in about 2.1 % w / w
   about 1.83 mg/ml, about 1.84 mg /ml, about 1.85 mg /ml,                     of the solids in the oral liquid formulation . In some embodi
   about 1.86 mg /ml, about 1.87 mg /ml, about 1.88 mg/ml,                     ments, citric acid is present in about 1.6 % w / w of the solids
   about 1.89 mg /ml, about 1.9 mg/mL , about 1.91 mg/mL ,                     in the oral liquid formulation .
   about 1.92 mg/mL , about 1.93 mg/mL , about 1.94 mg /mL ,                      In some embodiments, sodium citrate dihydrate is present
   about 1.95 mg /mL , about 1.96 mg /mL , about 1.97 mg /mL ,           50    in about 0.1 to about 0.8 mg /ml in the oral liquid formula
   about 1.98 mg/mL, about 1.99 mg/mL , or about 2 mg /mL in                   tion . In other embodiments, sodium citrate dihydrate is
   the oral liquid formulation . In some embodiments , citric acid             present in the oral liquid formulation is about 0.1 mg/mL,
   is present in about 1.65 mg /ml in the oral liquid formulation .            about 0.11 mg/mL, about 0.12 mg /mL , about 0.13 mg /mL,
   In some embodiments, citric acid is present in about 1.82                   about 0.14 mg/mL , about 0.15 mg /ml, about 0.16 mg/mL ,
   mg/ml in the oral liquid formulation . In some embodiments ,          55    about 0.17 mg /mL , about 0.18 mg/mL , about 0.19 mg/mL ,
   citric acid is present in about 0.82 mg /ml in the oral liquid              about 0.2 mg/ml, about 0.21 mg/ml, about 0.22 mg /ml,
   formulation .                                                               about 0.23 mg/ml , about 0.24 mg/ml, about 0.25 mg/ml,
      In some embodiments, citric acid is present in about 2 to                about 0.26 mg/ml , about 0.27 mg /ml, about 0.28 mg/ml,
   about 3.5 mg/ml in the oral liquid formulation . In other                   about 0.29 mg /ml, about 0.3 mg /ml, about 0.31 mg /ml,
   embodiments, citric acid is present in about 2 mg/mL , about           60   about 0.32 mg/ml , about 0.33 mg /ml, about 0.34 mg/ml,
   2.05 mg /mL, about 2.1 mg /mL, about 2.15 mg/mL , about                     about 0.35 mg/ml , about 0.36 mg/ml, about 0.37 mg /ml,
   2.2 mg/mL , about 2.25 mg/mL , about 2.3 mg /mL, about                      about 0.38 mg/ml, about 0.39 mg/ml, about 0.4 mg /ml,
   2.35 mg /mL , about 2.4 mg /mL , about 2.45 mg/mL, about                    about 0.41 mg/ml , about 0.42 mg /ml, about 0.43 mg /ml,
   2.5 mg /mL , about 2.55 mg/mL, about 2.6 mg/mL, about                       about 0.44 mg/ml , about 0.45 mg/ml, about 0.46 mg /ml,
   2.65 mg /mL , about 2.7 mg /mL , about 2.75 mg /mL , about             65   about 0.47 mg/ml , about 0.48 mg /ml, about 0.49 mg /ml,
   2.8 mg/mL, about 2.85 mg /mL , about 2.9 mg/mL, about                       about 0.5 mg /ml, about 0.51 mg/ml, about 0.52 mg/ml,
   2.95 mg/mL , about 3 mg/mL , about 3.05 mg/ml, about 3.1                    about 0.53 mg/ml , about 0.54 mg/ml, about 0.55 mg /ml,
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                                                          US 10,918,621 B2
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   about 0.56 mg/ml, about 0.57 mg/ml, about 0.58 mg/ml, or synthetic flavoring agents can be selected from standard
   about 0.59 mg/ml, about 0.6 mg /ml, about 0.61 mg /ml, reference books , for example Fenaroli's Handbook of Flavor
   about 0.62 mg/ml, about 0.63 mg/ml, about 0.64 mg/ml, Ingredients, 3rd edition ( 1995 ) . Non - limiting examples of
   about 0.65 mg/ml, about 0.66 mg /ml, about 0.67 mg/ml, suitable natural flavors, some of which can readily be
   about 0.68 mg /ml, about 0.69 mg /ml, about 0.7 mg/ml, 5 simulated with synthetic agents or combinations thereof,
   about 0.71 mg/ml, about 0.72 mg/ml, about 0.73 mg /ml, include almond, anise, apple , apricot , bergamot, blackberry,
   about 0.74 mg/ml, about 0.75 mg/ml, about 0.76 mg/ml, blackcurrant, blueberry , cacao , caramel, cherry, cinnamon ,
   about 0.77 mg/ml, about 0.78 mg /ml, about 0.79 mg/ml, or clove , coffee, coriander, cranberry, cumin , dill , eucalyptus,
   about 0.8 mg/ml in the oral liquid formulation . In some fennel, fig , ginger, grape, grapefruit, guava , hop, lemon,
   embodiments, sodium citrate dihydrate is present in about 10 licorice , lime , malt , mandarin , molasses , nutmeg , mixed
   0.75 mg/ml in the oral liquid formulation . In some embodi- berry, orange , peach , pear, peppermint, pineapple , raspberry,
   ments, sodium citrate dihydrate is present in about 0.35 rose, spearmint, strawberry, tangerine, tea , vanilla, winter
   mg /ml in the oral liquid formulation . In some embodiments, green , etc. Also useful, particularly where the formulation is
   sodium citrate dihydrate is present in about 0.2 mg/ml in the intended primarily for pediatric use , is tutti - frutti or bubble
   oral liquid formulation . In some embodiments, sodium cit- 15 gum flavor, a compounded flavoring agent based on fruit
   rate dihydrate is present in about 0.15 mg/ml in the oral flavors. Presently preferred flavoring agents include anise ,
   liquid formulation .                                             cinnamon , cacao , orange, peppermint, cherry (in particular
      In some embodiments , sodium citrate dihydrate is present wild cherry ), grape , bubblegum , vanilla, and mixed berry. In
   in about 1 % w / w to about 15 % w / w of the solids in the oral some embodiments, the enalapril liquid formulation
   liquid formulation . In other embodiments, sodium citrate 20 described herein comprises a mixed berry flavoring agent.
   dihydrate is present in about 1 % w / w , about 1.1 % w / w , about        Flavoring agents can be used singly or in combinations of
   1.2 % w / w , about 1.3 % w / w , about 1.4 % w / w , about 1.5 %          two or more .
   w / w , about 1.6 % w / w , about 1.7 % w / w , about 1.8 % w / w ,          In further embodiments, the enalapril liquid formulation
   about 1.9 % w / w , about 2 % w / w , about 2.1 % w / w , about            comprises a coloring agent for identity and / or aesthetic
   2.2 % w / w , about 2.3 % w / w , about 2.4 % w / w , about 2.5 % 25 purposes. Suitable coloring agents illustratively include
   w / w , about 2.6 % w / w , about 2.7 % w / w , about 2.8 % w / w ,        FD & C Red No. 3 , FD & C Red No. 20 , FD & C Red No. 40 ,
   about 2.9 % w / w , about 3 % w / w , about 3.1 % w / w , about            FD & C Yellow No. 6 , FD & C Blue No. 2 , FD & C Green No.
   3.2 % w / w , about 3.3 % w / w , about 3.4 % w / w , about 3.5 %          5 , FD & C Orange No. 5 , caramel, ferric oxide and mixtures
   w / w , about 3.6 % w / w , about 3.7 % w / w , about 3.8 % w / w ,        thereof.
   about 3.9 % w / w , about 4 % w / w , about 4.5 % w / w , about 5 % 30         Thickeners impart viscosity or weight to the resultant
   w / w , about 5.5 % w / w , about 6 % w / w , about 6.5 % w / w , liquid forms from the enalapril formulation described
   about 7 % w / w , about 7.5 % w / w , about 8 % w / w , about 8.5 % herein . Exemplary thickeners include dextrin , cellulose
   w / w , about 9 % w / w , about 9.5 % w / w , about 10 % w / w , about derivatives ( carboxymethylcellulose and its salts, ethylcel
   10.5 % w / w , about 11 % w / w , about 11.5 % w / w , about 12 % lulose, hydroxyethyl cellulose , methylcellulose , hypromel
   w / w , about 12.5 % w / w , about 13 % w / w , about 13.5 % w / w , 35 lose , and the like ) starches, pectin, polyethylene glycol ,
   about 14 % w / w , about 14.5 % w / w , about 15 % w / w of the polyethylene oxide , trehalose and certain gums ( xanthan
   solids in the oral liquid formulation. In some embodiments, gum , locust bean gum , etc. ). In certain embodiments, the
   sodium citrate dihydrate is present in about 10.5 % w / w of enalapril liquid formulation comprises a thickener.
   the solids in the oral liquid formulation . In some embodi-     Additional excipients are contemplated in the enalapril
   ments , sodium citrate dihydrate is present in about 7.5 % 40 liquid formulation embodiments. These additional excipi
   w/w of the solids in the oral liquid formulation . In some ents are selected based on function and compatibility with
   embodiments, sodium citrate dihydrate is present in about the enalapril liquid formulations described herein and may
   4.5 % w/w of the solids in the oral liquid formulation . In be found , for example in Remington : The Science and
   some embodiments, sodium citrate dihydrate is present in Practice of Pharmacy , Nineteenth Ed ( Easton , Pa .: Mack
   about 2.9% w / w of the solids in the oral liquid formulation . 45 Publishing Company, 1995 ) ; Hoover, John E. , Remington's
     In other embodiments, sodium citrate dihydrate is not                    Pharmaceutical Sciences, ( Easton , Pa .: Mack Publishing Co
   added to the formulation .                                                 1975 ) ; Liberman , H. A. and Lachman , L. , Eds . , Pharma
                                                                              ceutical Dosage Forms (New York , N.Y .: Marcel Decker
                        Additional Excipients                                 1980 ) ; and Pharmaceutical Dosage Forms and Drug Deliv
                                                                         50   ery Systems, Seventh Ed (Lippincott Williams & Wilkins
      In further embodiments, the enalapril liquid formulation 1999 ) , herein incorporated by reference in their entirety.
   described herein comprises additional excipients including,
   but not limited to , glidants, flavoring agents, coloring agents                                  Stability
   and thickeners. Additional excipients such as bulking agents ,
   tonicity agents and chelating agents are within the scope of 55 The main enalapril degradants are enalapril diketopipera
   the embodiments .                                                    zine and enalaprilat.
      Glidants are substances that improve flowability of a                The enalapril oral liquid formulations described herein are
   powder. Suitable glidants include, but are not limited to , stable in various storage conditions including refrigerated,
   calcium phosphate tribasic , calcium silicate, cellulose (pow- ambient and accelerated conditions . Stable as used herein
   dered ), colloidal silicon dioxide , magnesium silicate, mag- 60 refers to enalapril oral liquid formulations having about 95 %
   nesium trisilicate, silicon dioxide , starch , talc and the like. In or greater of the initial enalapril amount and about 5 % w / w
   some embodiments, the enalapril powder formulations or less total impurities or related substances at the end of a
   described herein comprise a glidant. In some embodiments given storage period. The percentage of impurities is calcu
   the glidant is not colloidal silicon dioxide .                       lated from the amount of impurities relative to the amount of
      In another embodiment, the enalapril liquid formulation 65 enalapril. Stability is assessed by HPLC or any other known
   comprises a flavoring agent or flavorant to enhance the taste testing method . In some embodiments, the stable enalapril
   or aroma of the formulation in liquid form . Suitable natural oral liquid formulations have about 5 % w / w , about 4 % w / w ,
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   about 3 % w / w , about 2.5 % w / w , about 2 % w / w , about 1.5 % vative is a paraben preservative. In one aspect , the enalapril
   w / w , about 1 % w / w , or about 0.5 % w / w total impurities or powder formulation described herein comprises enalapril,
   related substances. In other embodiments, the stable enal- sucralose, and sodium benzoate . In some embodiments, the
   april oral liquid formulations have about 5 % w / w total enalapril powder formulation herein further comprises a
   impurities or related substances. In yet other embodiments, 5 flavoring agent. In some embodiments, the enalapril powder
   the stable enalapril oral liquid formulations have about 4 % formulation herein further comprises one or more buffering
   w/w total impurities or related substances . In yet other agents .
   embodiments, the stable enalapril oral liquid formulations             In some embodiments, enalapril or a pharmaceutically
   have about 3 % w / w total impurities or related substances. In acceptable salt thereof, is present in about 0.5 % w/w to
   yet other embodiments, the stable enalapril oral liquid 10 about 30 % w/w of the powder formulation . In other embodi
   formulations have about 2 % w / w total impurities or related ments, enalapril or a pharmaceutically acceptable salt
   substances. In yet other embodiments, the stable enalapril thereof, is present in about 0.5 % w / w , about 1 % w / w , about
   oral liquid formulations have about 1 % w / w total impurities          1.5 % w / w , about 2 % w / w , about 2.5 % w / w , about 3 % w / w ,
   or related substances.                                                  about 3.5 % w / w , about 4 % w / w , about 4.5 % w / w , about 5 %
     At refrigerated condition, the enalapril oral liquid formu- 15 w / w , about 5.5 % w / w , about 6 % w / w , about 6.5 % w / w ,
   lations described herein are stable for at least 1 month , at         about 7 % w / w , about 7.5 % w / w , about 8 % w / w , about 8.5 %
   least 2 months, at least 3 months, at least 6 months, at least        w / w , about 9 % w / w , about 9.5 % w / w , about 10 % w / w , about
   9 months, at least 12 months, at least 15 months, at least 18 10.5 % w / w , about 11 % w / w , about 11.5 % w / w , about 12 %
   months, at least 24 months, at least 30 months and at least w / w , about 12.5 % w / w , about 13 % w / w , about 13.5 % w / w ,
   36 months . In some embodiments, refrigerated condition is 20 about 14 % w / w , about 14.5 % w / w , about 15 % w / w , about
   5 + 3 ° C. In some embodiments , refrigerated condition is 15.5 % w / w , about 16 % w / w , about 16.5 % w / w , about 17 %
   about 2 ° C. , about 2.1 ° C. , about 2.2 ° C. , about 2.3 ° C. , w / w , about 17.5 % w / w , about 18 % w / w , about 18.5 % w / w ,
   about 2.4 ° C. , about 2.5 ° C. , about 2.6 ° C. , about 2.7 ° C. , about 19 % w / w , about 19.5 % w / w , about 20% w / w , about
   about 2.8 ° C. , about 2.9 ° C. , about 3 ° C. , about 3.1 ° C. , 20.5 % w / w , about 21 % w / w , about 21.5 % w / w , about 22 %
   about 3.2 ° C., about 3.3 ° C. , about 3.4 ° C. , about 3.5 ° C. , 25 w / w , about 22.5 % w / w , about 23 % w / w , about 23.5 % w / w ,
   about 3.6 ° C. , about 3.7 ° C. , about 3.8 ° C. , about 3.9 ° C. , about 24 % w / w , about 24.5 % w / w , about w / w , about 25.5 %
   about 4 ° C. , about 4.1 ° C. , about 4.2 ° C. , about 4.3 ° C. , w / w , about 26 % w / w , about 26.5 % w / w , about 27 % w / w ,
   about 4.4 ° C. , about 4.5 ° C. , about 4.6 ° C. , about 4.7 ° C. , about 27.5 % w / w , about 28 % w / w , about 28.5 % w / w , about
   about 4.8 ° C. , about 4.9 ° C. , about 5 ° C. , about 5.1 ° C. , 29 % w / w , about 29.5 % w / w , or about 30 % w/w of the
   about 5.2 ° C., about 5.3 ° C. , about 5.4 ° C. , about 5.5º C. , 30 powder formulation . In some embodiments, enalapril or a
   about 5.6 ° C. , about 5.7 ° C. , about 5.8 ° C. , about 5.9 ° C. , pharmaceutically acceptable salt thereof, is present in about
   about 6 ° C. , about 6.1 ° C. , about 6.2 ° C. , about 6.3 ° C. , 10% w / w to about 25 % w / w of the powder formulation . In
   about 6.4 ° C. , about 6.5 ° C. , about 6.6 ° C. , about 6.7 ° C. , some embodiments, enalapril maleate is present in about
   about 6.8 ° C. , about 6.9 ° C. , about 7 ° C. , about 7.1 ° C. , 13.5 % w/w of the powder formulation. In some embodi
   about 7.2 ° C. , about 7.3 ° C. , about 7.4 ° C. , about 7.5º C. , 35 ments, enalapril maleate is present in about 19.5 % w / w of
   about 7.6 ° C. , about 7.7 ° C. , about 7.8 ° C. , about 7.9 ° C. , or the powder formulation . In some embodiments, enalapril
   about 8 ° C. At accelerated conditions, the enalapril oral maleate is present in about 24.5 % w/w of the powder
   liquid formulations described herein are stable for at least 1 formulation. In some embodiments, enalapril is present in
   month , at least 2 months, at least 3 months, at least 4 months, about 10.5 % w / w of the powder formulation . In some
   at least 5 months, at least 6 months, at least 7 months, at least 40 embodiments, enalapril is present in about 14.5 % w / w of the
   8 months, at least 9 months, at least 10 months, at least 11 powder formulation . In some embodiments, enalapril is
   months or at least 12 months. Accelerated conditions for the            present in about 18 % w / w of the powder formulation .
   enalapril oral liquid formulations described herein include                In some embodiments, enalapril or a pharmaceutically
   temperature and / or relative humidity (RH ) that are at or acceptable salt thereof, is present in about 0.1 % w/w to
   above ambient levels (e.g. 25 + 5 ° C .; 55-10% RH ).In some 45 about 1 % w / w of the powder formulation .In other embodi
   instances, an accelerated condition is at about 25 ° C. , about ments, enalapril or a pharmaceutically acceptable salt
   30 ° C. , about 35 ° C. , about 40 ° C. , about 45 ° C. , about 50 ° thereof, is present in about 0.1 % w / w , about 0.15 % w / w ,
                                         ??
   C. , about 55 ° C. or about 60 ° C. In other instances, an        about 0.2 % w / w , about 0.25 % w / w , about 0.3 % w / w , about
   accelerated condition is above 55 % RH , about 65 % RH ,          0.35 % w / w , about 0.4 % w / w , about 0.45 % w / w , about 0.5 %
   about 70 % RH , about 75 % RH or about 80% RH . In further 50 w / w , about 0.55 % w / w , about 0.6 % w / w , about 0.65 % w / w ,
   instances, an accelerated condition is about 40 ° C. or 60 ° C. about 0.7 % w / w , about 0.75 % w / w , about 0.8 % w / w , about
   at ambient humidity. In yet further instances , an accelerated 0.85 % w / w , about 0.9 % w / w , about 0.95 % w / w , or about 1 %
   condition is about 40 ° C. at 75 + 5 % RH humidity .              w / w of the powder formulation . In some embodiments ,
                                                                     enalapril or a pharmaceutically acceptable salt thereof, is
               Enalapril Oral Powder Formulation                  55 present in about 0.4 % w / w to about 0.7 % w / w of the powder
                                                                           formulation . In some embodiments, enalapril maleate is
     In another aspect , enalapril oral liquid formulations                present in about 0.45 % w / w of the powder formulation. In
   described herein are prepared from the reconstitution of an some embodiments, enalapril maleate is present in about
   enalapril powder formulation . In some embodiments , the 0.6 % w/w of the powder formulation . In some embodi
   enalapril powder formulation comprising enalapril, a sweet- 60 ments, enalapril is present in about 0.4 % w / w of the powder
   ener, a preservative, and optionally an excipient is dissolved formulation . In some embodiments , enalapril is present in
   in water, a buffer, other aqueous solvent, or a liquid to form about 0.5 % w / w of the powder formulation .
   an enalapril oral liquid formulation . In one embodiment, the    Various amounts and concentrations of other components
   sweetening agent is sucralose . In one embodiment, the ( sweeteners, buffers, preservatives, and the like) in the
   sweetener is not mannitol. In one embodiment, the sweet- 65 enalapril powder formulations are found in the previous
   ening agent is xylitol. In another embodiment, the preser- section describing the amounts and concentrations for the
   vative is sodium benzoate . In one embodiment, the preser- analogous enalapril oral liquid formulations. For example, in
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   some embodiments where sucralose is present in about 1 %                  In another embodiment, the enalapril powder formulation
   w/w to about 30 % w / w of the solids in the oral liquid described herein comprises a flavoring agent or flavorant to
   formulation ; in an analogous enalapril powder formulation , enhance the taste or aroma of the formulation in liquid form .
   sucralose would be about 1 % w/w to about 30 % w / w in the            Suitable natural or synthetic flavoring agents can be selected
   powder formulation . In some embodiments where sodium 5 from standard reference books , for example Fenaroli's
   benzoate is present in about 1 % w / w to about 30 % w / w of Handbook of Flavor Ingredients, 3rd edition ( 1995 ) . Non
   the solids in the oral liquid formulation , in an analogous limiting examples of suitable natural flavors, some of which
   enalapril powder formulation sodium benzoate is present in tions       can readily be simulated with synthetic agents or combina
   about 1 % w / w to about 30% w / w in the powder formulation .                 thereof, include almond , anise , apple , apricot, berga
       Liquid vehicles suitable for the enalapril powder formu- 10 mot    cherry, blackberry
                                                                                  , cinnamon ,, blackcurrant
                                                                                                clove , coffee,, coriander
                                                                                                                 blueberry,,cranberry
                                                                                                                             cacao, cara
                                                                                                                                     ,
                                                                                                                                       aramel,
                                                                                                                                       cumin ,
   lations to be reconstituted into an oral solution described            dill , eucalyptus, fennel, fig, ginger, grape , grapefruit, guava ,
   herein are selected for a particular oral liquid formulation hop
   ( solution , suspension, etc. ) as well as other qualities such as meg, , lemon      , licorice , lime , malt , mandarin , molasses , nut
                                                                                  mixed berry, orange , peach, pear, peppermint, pine
   clarity, toxicity, viscosity, compatibility with excipients, 15 apple, raspberry, rose, spearmint, strawberry, tangerine, tea,
   chemical inertness , palatability, odor, color and economy. vanilla , wintergreen , etc. Also useful, particularly where the
   Exemplary liquid vehicles include water, ethyl alcohol , formulation is intended primarily for pediatric use , is tutti
   glycerin , propylene glycol , syrup ( sugar or other sweetener frutti or bubblegum flavor, a compounded flavoring agent
   based, e.g. , Ora -Sweet® SF sugar- free flavored syrup ), based on fruit flavors. Presently preferred flavoring agents
   juices (apple, grape, orange, cranberry, cherry, tomato and 20 include anise, cinnamon , cacao , orange , peppermint, cherry
   the like) , other beverages (tea, coffee , soft drinks, milk and (in particular wild cherry ), grape, bubblegum , vanilla , and
   the like) , oils ( olive , soybean , corn , mineral, castor and the mixed berry. Flavoring agents can be used singly or in
   like) , and combinations or mixtures thereof. Certain liquid combinations of two or more .
   vehicles , e.g. , oil and water, can be combined together to              In further embodiments , the enalapril powder formulation
   form emulsions. In some embodiments , water is used for as 25 described herein comprises a coloring agent for identity
   a vehicle for a enalapril oral liquid formulation . In other and /or aesthetic purposes . Suitable coloring agents illustra
   embodiments, a syrup is used for as vehicle for a enalapril tively include FD & C Red No. 3 , FD & C Red No. 20 , FD & C
   oral liquid formulation . In yet other embodiments, a juice is Red No. 40 , FD & C Yellow No. 6 , FD & C Blue No. 2 , D & C
   used for as a vehicle for a enalapril oral liquid formulation . Green No. 5 , D & C Orange No. 5 , caramel, ferric oxide and
       Buffering agents maintain the pH of the liquid enalapril 30 mixtures thereof.
   formulation. Non - limiting examples of buffering agents                  In further embodiments, the enalapril powder formulation
   include , but are not limited to sodium bicarbonate , potas- described herein comprises a thickener. Thickeners impart
   sium bicarb ate, magnesium hydroxide, magnesium lac- viscosity or weight to the resultant liquid forms from the
   tate , magnesium gluconate , aluminum hydroxide, aluminum enalapril formulation described herein . Exemplary thicken
   hydroxide / sodium bicarbonate co precipitate, mixture of an 35 ers include dextrin , cellulose derivatives (carboxymethyl
   amino acid and a buffer, a mixture of aluminum glycinate cellulose and its salts , ethylcellulose , hydroxyethyl cellu
   and a buffer, a mixture of an acid salt of an amino acid and lose , methylcellulose, hypromellose , and the like ) starches,
   a buffer, and a mixture of an alkali salt of an amino acid and pectin, polyethylene glycol , polyethylene oxide , trehalose
   a buffer. Additional buffering agents include citric acid , and certain gums ( xanthan gum , locust bean gum , etc. ) .
   sodium citrate, sodium tartrate , sodium acetate , sodium 40 Additional excipients are contemplated in the enalapril
   carbonate, sodium polyphosphate, potassium polyphos- powder formulation embodiments. These additional excipi
   phate, sodium pyrophosphate, potassium pyrophosphate , ents are selected based on function and compatibility with
   disodium hydrogenphosphate, dipotassium hydrogenphos- the the enalapril powder formulation described herein and
   phate, trisodium phosphate, tripotassium phosphate, sodium may be found , for example in Remington : The Science and
   acetate , potassium metaphosphate, magnesium oxide , mag- 45 Practice of Pharmacy, Nineteenth Ed (Easton, Pa .: Mack
   nesium hydroxide, magnesium carbonate , magnesium sili- Publishing Company , 1995 ) ; Hoover, John E. , Remington's
   cate , calcium acetate , calcium glycerophosphate, calcium Pharmaceutical Sciences, ( Easton , Pa .: Mack Publishing Co
   chloride , calcium hydroxide, calcium lactate , calcium car- 1975 ) ; Liberman , H. A. and Lachman , L. , Eds . , Pharma
   bonate, calcium bicarbonate, and other calcium salts . Some ceutical Dosage Forms (New York , N.Y .: Marcel Decker
   buffering agents also impart effervescent qualities when a 50 1980 ) ; and Pharmaceutical Dosage Forms and Drug Deliv
   powder is reconstituted in a solution .                                ery Systems, Seventh Ed ( Lippincott Williams & Wilkins
       In some embodiments, the reconstituted oral liquid for- 1999 ) , herein incorporated by reference in their entirety.
   mulation comprises a buffer. In some embodiments, the                     In some embodiments , the enalapril oral liquid formula
   buffer comprises citric acid and sodium citrate .                      tion prepared from the powder formulations described
       In further embodiments , the enalapril powder formulation 55 herein are homogenous . Homogenous liquids as used herein
   described herein comprises additional excipients including, refer to those liquids that are uniform in appearance, identity,
   but not limited to , glidants, flavoring agents, coloring agents consistency and drug concentration per volume. Non -ho
   and thickeners. Additional excipients such as bulking agents , mogenous liquids include such liquids that have varied
   tonicity agents and chelating agents are within the scope of coloring , viscosity and / or aggregation of solid particulates,
   the embodiments .                                                   60 as well as non - uniform drug concentration in a given unit
       Glidants are substances that improve flowability of a volume. Homogeneity in liquids are assessed by qualitative
   powder. Suitable glidants include , but are not limited to , identification or appearance tests and /or quantitative HPLC
   calcium phosphate tribasic, calcium silicate, cellulose (pow- testing or the like . The mixing methods and excipients
   dered ), colloidal silicon dioxide, magnesium silicate, mag- described herein are selected to impart a homogenous qual
   nesium trisilicate, silicon dioxide , starch, talc and the like. In 65 ity to a resultant enalapril oral liquid formulation .
   some embodiments, the enalapril powder formulations                       Mixing methods encompass any type of mixing that result
   described herein comprise a glidant.                                   in a homogenous enalapril oral liquid formulation . In some
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   embodiments, a quantity of an enalapril powder formulation                  At refrigerated and ambient conditions, in some embodi
   is added to a liquid vehicle and then mixed by a stirring, ments, the enalapril powder formulations described herein
   shaking, swirling , agitation element or a combination are stable for at least 1 week, 2 weeks , 4 weeks , 6 weeks, 8
   thereof. In certain instances , a fraction of a enalapril powder weeks, 10 weeks , 12 weeks, 16 weeks, 20 weeks , at least 24
   formulation ( i.e. , one -half, one -third , one - fourth , etc.) is 5 weeks, at least 30 weeks, or at least 36 weeks . At accelerated
   added to a liquid vehicle , mixed by stirring, shaking, swirl- conditions , in some embodiments, the enalapril powder
   ing , agitation or a combination thereof, and the subsequent formulations described herein are stable for at least 1 week ,
   powder fraction ( s ) is added and mixed . In other embodi- at least 2 weeks, at least 3 weeks , at least 4 weeks , at least
   ments, a liquid vehicle is added to an enalapril powder 5 weeks , at least 6 weeks, at least 7 weeks , at least 8 weeks ,
   formulation in a container, for example, a bottle, vial , bag , 10 at least 9 weeks , at least 10 weeks , at least 11 weeks or at
   beaker, syringe , or the like . The container is then mixed by powder   least 12 weeks. Accelerated conditions for the enalapril
   stirring, shaking, swirling, agitation , inversion or a combi and /or relative     formulations described herein include temperature
   nation thereof. In certain instances , a fractional volume of                                humidity (RH ) that are above ambient levels
   the liquid vehicle ( i.e. , one -half, one- third , one - fourth vol 15 erated condition55-10
                                                                           ( e.g. 25 + 4 ° C .;        % RH ) . In some instances , an accel
   ume , etc. ) is added to a enalapril powder formulation in a C. , about 45 ° C. , isabout        at about 30 ° C. , about 35 ° C. , about 40 °
                                                                                                         50 ° C. , about 55 ° C. or about 60 ° C.
   container, mixed by stirring, shaking , swirling, agitation, In other instances, an accelerated
   inversion or a combination thereof and the subsequent liquid RH , about 70 % RH , about 75 % RHcondition                       is above 65 %
                                                                                                                         or about 80 % RH . In
   fraction ( s) is added and mixed . In certain instances , a further instances, an accelerated condition is about 40 ° C. or
   one- half fractional volume of the liquid vehicle is added to 20 60 ° C. at ambient humidity. In yet further instances , an
   an enalapril powder formulation in a container and mixing accelerated condition is about 40 ° C. at 75 + 5 % RH humid
   by shaking; the other one -half fractional volume of the ity .
   liquid vehicle is then bsequently added and mixed . In any
   of the above embodiments , mixing (i.e. , stirring, shaking,               Kits and Articles of Manufacture
   swirling , agitation, inversion or a combination thereof) 25
   occurs for a certain time intervals such as about 10 seconds ,  For the enalapril powder and liquid formulations
   about 20 seconds, about 30 seconds , about 45 seconds , about described herein , kits and articles of manufacture are also
   60 seconds, about 90 seconds , about 120 seconds, about 2.5 described . Such kits can comprise a carrier, package , or
   minutes, about 3 minutes, about 3.5 minutes, about 4 min- container that is compartmentalized to receive one or more
   utes , or about 5 minutes. In embodiments, where there are 30 containers such as vials , tubes, and the like , each of the
   two or more mixing steps , the time intervals for each mixing              container ( s) comprising one of the separate elements to be
   can be the same (e.g. , 2x10 seconds ) or different (e.g. , 10             used in a method described herein including an enalapril
   seconds for first mixing and 20 seconds for second mixing) .               powder or liquid formulation . Suitable containers include,
   In any of the above embodiments, a enalapril oral liquid                   for example , bottles, vials , syringes, and test tubes. The
   formulation is allowed to stand for a period of time such as 35 containers can be formed from a variety of materials such as
   about 10 minutes, about 20 minutes, about 30 minutes, about glass or plastic .
   45 minutes, about 1 hour, about 1.5 hours or about 2 hours,       A kit will typically may comprise one or more additional
   to allow any air bubbles resultant from any of the mixing                  containers, each with one or more of various materials ( such
   methods to dissipate.                                                      as reagents, optionally in concentrated form , and / or devices )
                                                                         40   desirable from a commercial and user standpoint for an
              Stability of Enalapril Powder Formulation                       enalapril powder or liquid formulation described herein .
                                                                              Non - limiting examples of such materials include, but not
      The enalapril powder formulations described herein are                  limited to , buffers, diluents, filters, needles , syringes; carrier,
   stable in various storage conditions including refrigerated ,              package , container, vial and / or tube labels listing contents
   ambient and accelerated conditions. Stable as used herein             45   and / or instructions for use , and package inserts with instruc
   refer to enalapril powder formulations having about 95 % or                tions for use associated with an enalapril powder or liquid
   greater of the initial enalapril amount and 5 % w/w or less                formulation . A set of instructions will also typically be
   total impurities or related substances at the end of a given               included .
   storage period . The percentage of impurities is calculated                   A label can be on or associated with the container. A label
   from the amount of impurities relative to the amount of               50   can be on a container when letters, numbers or other
   enalapril. Stability is assessed by HPLC or any other known                characters forming the label are attached, molded or etched
   testing method . In some embodiments , the stable enalapril                into the container itself; a label can be associated with a
   powder formulations have about 5 % w / w , about 4 % w / w ,               container when it is present within a receptacle or carrier that
   about 3 % w / w , about 2.5 % w / w , about 2 % w / w , about 1.5 %        also holds the container, e.g. , as a package insert. A label can
   w / w , about 1 % w / w , or about 0.5 % w / w total impurities or    55   be used to indicate that the contents are to be used for a
   related substances. In other embodiments , the stable enal-                specific therapeutic application . The label can also indicate
   april powder formulations have about 5 % w/w total impu-                   directions for use of the contents, such as in the methods
   rities or related substances . In yet other embodiments, the               described herein .
   stable enalapril powder formulations have about 4 % w / w
   total impurities or related substances. In yet other embodi- 60                                         Methods
   ments , the stable enalapril powder formulations have about
   3 % w/w total impurities or related substances. In yet other      Provided herein, in one aspect , are methods of treatment
   embodiments, the stable enalapril powder formulations have comprising administration of the enalapril oral liquid for
   about 2 % w / w total impurities or related substances . In yet mulations described herein to a subject. In some embodi
   other embodiments, the stable enalapril powder formula- 65 ments, the enalapril oral liquid formulations described
   tions have about 1 % w/w total impurities or related sub- herein treat hypertension in a subject. Hypertension as used
   stances .                                                       herein includes both primary ( essential) hypertension and
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   secondary hypertension . In certain instances , hypertension is       and therapeutic effects is the therapeutic index and it can be
   classified in cases when blood pressure values are greater expressed as the ratio between LDs , and ED50 . Enalapril
   than or equal to 140/90 ( systolic /diastolic ) mm Hg in a dosages exhibiting high therapeutic indices are of interest.
   subject. In certain instances, the enalapril oral liquid formu- The data obtained from cell culture assays and animal
   lations described herein treat a subject having a blood 5 studies can be used in formulating a range of dosage for use
   pressure values are greater than or equal to 140/90 mm Hg . in human . The dosage of such compounds lies preferably
   In certain instances , the enalapril oral liquid formulations within a range of circulating concentrations that include the
   described herein treat primary ( essential) hypertension in a ED50 with minimal toxicity. The dosage may vary within
   subject. In other instances , the enalapril oral liquid formu- this range depending upon the dosage form employed and
   lations described herein treat secondary hypertension in a 10 the route of administration utilized . Additional relative dos
   subject.                                                        ages , represented as a percent of maximal response or of
      In other embodiments, the enalapril oral liquid formula- maximum tolerated dose , are readily obtained via the pro
   tions described herein treat prehypertension in a subject. tocols .
   Prehypertension as used herein refers to cases where a             In some embodiments, the amount of a given enalapril
   subject's blood pressure is elevated above normal but not to 15 oral liquid formulation that corresponds to such an amount
   the level considered to be hypertension. In some instances, varies depending upon factors such as the particular enal
   prehypertension is classified in cases when blood pressure april salt or form , disease condition and its severity , the
   values are 120-139 / 80-89 mm Hg . In certain instances, the identity ( e.g. , weight, sex ) of the subject or host in need of
   enalapril oral liquid formulations described herein treat a treatment, but can nevertheless be determined according to
   subject having blood pressure values of 120-139/80-89 mm 20 the
   Hg .
                                                                       particular circumstances surrounding the case, including,
                                                                   e.g. , the specific agent being administered , the liquid com
      In yet other embodiments, the enalapril oral liquid for- position type , the condition being treated , and the subject or
   mulations described herein are prophylactically adminis- host being treated .
   tered to subjects suspected of having, predisposed to , or at      In some embodiments , the enalapril oral liquid formula
   risk of developing hypertension. In some embodiments, the 25 tions described herein are provided in a dose per day from
   administration of enalapril oral liquid formulations about 0.01 mg to 100 mg , from about 0.1 mg to about 80 mg ,
   described herein allow for early intervention prior to onset from about 1 to about 60 , from about 2 mg to about 40 mg
   of hypertension . In certain embodiments, upon detection of of enalapril. In certain embodiments, the enalapril oral liquid
   a biomarker, environmental, genetic factor, or other marker, formulations described herein are provided in a daily dose of
   the enalapril oral liquid formulations described herein are 30 about 0.01 mg , about 0.05 mg , about 0.1 mg , about 0.2 mg ,
   prophylactically administered to subjects.                         about 0.4 mg , about 0.6 mg , about 0.8 mg , about 1 mg , about
      In further embodiments, the enalapril oral liquid formu- 1.5 mg , about 2 mg , about 2.5 mg , about 3 mg , about 4 mg ,
   lations described herein treat heart failure (e.g. , symptomatic about 5 mg , about 6 mg , about 7 mg , about 8 mg , about 9
   congestive ), asymptomatic left ventricular dysfunction , mg , about 10 mg , about 11 mg , about 12 mg , about 15 mg ,
   myocardial infarction , diabetic nephropathy and chronic 35 about 20 mg , about 25 mg, about 30 mg , about 35 mg , about
   renal failure . In certain instances, the enalapril oral liquid 40 mg , about 45 mg , about 50 mg , about 55 mg , about 60
   formulations described herein treat symptomatic congestive mg , about 65 mg , about 70 mg , about 76 , mg , about 80 mg ,
   heart failure . In other instances, the enalapril oral liquid about 85 mg , about 90 mg or about 100 mg , or any range
   formulations described herein treat asymptomatic left ven derivable therein . In certain instances, the enalapril oral
   tricular dysfunction . In further instances, the enalapril oral 40 liquid formulations described herein are provided in a dose
   liquid formulations described herein treat myocardial infarc- per day of about 1 mg . In certain instances, the enalapril oral
   tion . In yet further instances , the enalapril oral liquid for- liquid formulations described herein are provided in a dose
   mulations described herein treat diabetic nephropathy. In yet per day of about 2 mg . In certain instances, the enalapril oral
   further instances, the enalapril oral liquid formulations liquid formulations described herein are provided in a dose
   described herein treat chronic renal failure .                  45 per day of about 3 mg . In certain instances, the enalapril oral
                                                                      liquid formulations described herein are provided in a dose
                               Dosing                                    per day of about 4 mg . In certain instances, the enalapril oral
                                                                         liquid formulations described herein are provided in a dose
      In one aspect , the enalapril oral liquid formulations are per day of about 5 mg . In certain instances, the enalapril oral
   used for the treatment of diseases and conditions described 50 liquid formulations described herein are provided in a dose
   herein . In addition , a method for treating any of the diseases per day of about 6 mg . In certain instances, the enalapril oral
   or conditions described herein in a subject in need of such liquid formulations described herein are provided in a dose
   treatment, involves administration of enalapril oral liquid per day of about 7 mg . In certain instances , the enalapril oral
   formulations in therapeutically effective amounts to said liquid formulations described herein are provided in a dose
   subject .                                                      55 per day of about 8 mg . In certain instances, the enalapril oral
       Dosages of enalapril oral liquid formulations described liquid formulations described herein are provided in a dose
   can be determined by any suitable method. Maximum tol- per day of about 9 mg . In certain instances, the enalapril oral
   erated doses ( MTD ) and maximum response doses ( MRD ) liquid formulations described herein are provided in a dose
   for enalapril and / or enalaprilat can be determined via estab- per day of about 10 mg . In certain instances, the enalapril
   lished animal and human experimental protocols as well as 60 oral liquid formulations described herein are provided in a
   in the examples described herein . For example , toxicity and dose per day of about 11 mg . In certain instances , the
   therapeutic efficacy of enalapril and / or enalaprilat can be enalapril oral liquid formulations described herein are pro
   determined by standard pharmaceutical procedures in cell vided in a dose per day of about 12 mg . The dose per day
   cultures or experimental animals , including, but not limited described herein can be given once per day or multiple times
   to , for determining the LD50 ( the dose lethal to 50% of the 65 per day in the form of sub - doses given b.i.d. , t.i.d. , q.i.d. , or
   population ) and the ED50 ( the dose therapeutically effective the like where the number of sub -doses equal the dose per
   in 50 % of the population ). The dose ratio between the toxic day.
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      In further embodiments, the daily dosages appropriate for of developing the particular disease , previous therapy, the
   the enalapril oral liquid formulations described herein are patient's health status and response to the enalapril formu
   from about 0.01 to about 1.0 mg/kg per body weight. In one lations , and the judgment of the treating physician .
   embodiment, the daily dosages appropriate for the enalapril           In certain embodiments wherein the patient's condition
   oral liquid formulations are from about 0.02 to about 0.8 5 does not improve, upon the doctor's discretion the admin
   mg/kg enalapril per body weight. In another embodiment, istration of an enalapril oral liquid formulations described
   the daily dosage appropriate for the enalapril oral liquid herein are administered chronically, that is , for an extended
   formulations are from about 0.05 to about 0.6 mg/kg per period of time , including throughout the duration of the
   body weight. In another embodiment, the daily dosage patient's life in order to ameliorate or otherwise control or
   appropriate  for the enalapril oralliquid formulations is about 10 limit the symptoms of thepatient's disease . In other embodi
   0.05 mg/kg, about 0.06 mg /kg, about 0.07 mg/kg, about 0.08 ments, administration of an enalapril oral liquid formulation
   mg /kg, about 0.10 mg/kg, about 0.15 mg /kg, about 0.20
   mg/kg, about 0.25 mg/kg, about 0.30 mg/kg, about 0.40 continues       In
                                                                                 until complete or partial response of a disease .
                                                                            certain embodiments wherein a patient's status does
   mg/kg, about 0.50 mg/kg, or about 0.60 mg/kg.
      In other embodiments the enalapril oral liquid formula- 15 improve      , the dose ofmayanbeenalapril
                                                                      being administered                    oral reduced
                                                                                                    temporarily  liquid formulation
                                                                                                                            or tempo
   tions are provided at the maximum tolerated dose (MTD ) for rarily        suspended   for a certain length of time  ( i.e. , a “ drug
   enalapril and / or enalaprilat. In other embodiments , the
   amount of the enalapril oral liquid formulations adminis holiday ” ) . In specific embodiments, the length of the drug
   tered is from about 10 % to about 90 % of the maximum holiday is between 2 days and 1 year, including by way of
   tolerated dose ( MTD ) , from about 25 % to about 75 % of the 20 example only , 2 days, 3 days, 4 days, 5 days , 6 days , 7 days,
   MTD , or about 50 % of the MTD . In particular embodiments, 10 days , 12 days, 15 days , 20 days, 28 days , 35 days, 50
   the amount of the enalapril oral liquid formulations admin- days, 70 days, 100 days , 120 days, 150 days , 180 days, 200
   istered is from about 5 % , 10 % , 15 % , 20 % , 25 % , 30 % , 35 % ,   days, 250 days , 280 days, 300 days , 320 days, 350 days , and
   40 % , 45 % , 50 % , 55 % , 50 % , 65 % , 70% , 75 % , 80% , 85 % ,     365 days. The dose reduction during a drug holiday is , by
   90% , 95 % , 99 % , or higher, or any range derivable therein , 25      way of example only, by 10 % -100 % , including by way of
   of the MTD for enalapril and /or enalaprilat.                           example only 10 % , 15 % , 20 % , 25 % , 30 % , 35 % , 40 % , 45 % ,
      In further embodiments, the enalapril oral liquid formu-             50% , 55 % , 60 % , 65 % , 70 % , 75 % , 80 % , 85 % , 90% , 95 % ,
   lations are provided in a dosage that is similar , comparable           and 100 % .
   or equivalent to a dosage of a known enalapril tablet                      In some embodiments, enalapril oral liquid formulations
   formulation . In other embodiments, the enalapril oral liquid 30 described herein are administered chronically.For example,
   formulations are provided in a dosage that provides a                   in some embodiments , an enalapril oral liquid formulation is
   similar, comparable or equivalent pharmacokinetic param-                administered as a continuous dose, i.e. , administered daily to
   eters (e.g. , AUC , Cmax, Tmax, Cmin , T1 /2 ) as a dosage of a         a subject. In some other embodiments , enalapril oral liquid
   known enalapril tablet formulation . Similar, comparable or             formulations described herein are administered intermit
   equivalent pharmacokinetic parameters, in some instances, 35            tently (e.g. drug holiday that includes a period of time in
   refer to within 80 % to 125 % , 80 % to 120 % , 85 % to 125 % ,   which the formulation is not administered or is administered
   90 % to 110% , or increments therein , of the given values . It   in a reduced amount).
   should be recognized that the ranges can , but need not be           In some embodiments an enalapril oral liquid formulation
   symmetrical, e.g. , 85 % to 105 % .                               is administered to a subject who is in a fasted state . A fasted
                                                                  40 state refers to a subject who has gone without food or fasted
                            Administration                           for a certain period of time . General fasting periods include
                                                                     at least 4 hours, at least 6 hours , at least 8 hours, at least 10
      Administration of an enalapril oral liquid formulation is at hours , at least 12 hours , at least 14 hours and at least 16
   a dosage described herein or at other dose levels and hours without food . In some embodiments, an enalapril oral
   formulations determined and contemplated by a medical 45 liquid formulation is administered orally to a subject who is
   practitioner. In certain embodiments, the enalapril oral liquid in a fasted state for at least 8 hours . In other embodiments,
   formulations described herein are administered for prophy- an enalapril oral liquid formulation is administered to a
   lactic and / or therapeutic treatments . In certain therapeutic subject who is in a fasted state for at least 10 hours. In yet
   applications, the enalapril oral liquid formulations are          other embodiments, an enalapril oral liquid formulation is
   administered to a patient already suffering from a disease , 50 administered to a subject who is in a fasted state for at least
   e.g. , hypertension , in an amount sufficient to cure the disease 12 hours . In other embodiments, an enalapril oral liquid
   or at least partially arrest or ameliorate the symptoms, e.g. , formulation is administered to a subject who has fasted
   lower blood pressure . Amounts effective for this use depend overnight
   on the severity of the disease , previous therapy, the patient's    In other embodiments an enalapril oral liquid formulation
   health status, weight, and response to the enalapril formu- 55 is administered to a subject who is in a fed state . A fed state
   lations , and the judgment of the treating physician . Thera- refers to a subject who has taken food or has had a meal . In
   peutically effective amounts are optionally determined by certain embodiments , an enalapril oral liquid formulation is
   methods including, but not limited to , a dose escalation administered to a subject in a fed state 5 minutes post -meal ,
   clinical trial.                                                   10 minutes post -meal , 15 minutes post - meal , 20 minutes
       In prophylactic applications, the enalapril oral liquid 60 post - meal , 30 minutes post -meal , 40 minutes post - meal , 50
   formulations described herein are administered to a patient minutes post -meal , 1 hour post - meal , or 2 hours post -meal .
   susceptible to or otherwise at risk of a particular disease , In certain instances , an enalapril oral liquid formulation is
   e.g. , hypertension . Such an amount is defined to be a administered to a subject in a fed state 30 minutes post -meal .
   " prophylactically effective amount or dose.” In this use , the In other instances, an enalapril oral liquid formulation is
   precise amounts also depend on the patient's state of health , 65 administered to a subject in a fed state 1 hour post -meal . In
   weight, and the like. When used in a patient, effective yet further embodiments, an enalapril oral liquid formula
   amounts for this use will depend on the risk or susceptibility tion is administered to a subject with food .
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                                                       US 10,918,621 B2
                                 29                                                                   30
      In further embodiments described herein , an enalapril oral       nition that refers to only alternatives and to “ and / or. ” The
   liquid formulation is administered at a certain time of day for      terms " comprise," " have ” and “ include ” are open -ended
   the entire administration period . For example, an enalapril         linking verbs . Any forms or tenses of one or more of these
   oral liquid formulation can be administered at a certain time verbs , such as " comprises , " " comprising," " has," " having , "
   in the morning, in the evening, or prior to bed . In certain 5 “ includes ” and “ including , ” are also open -ended . For
   instances, an enalapril oral liquid formulation is adminis- example, any method that “ comprises , ” “ has” or “ includes ”
   tered in the morning. In other embodiments , an enalapril oral one or more steps is not limited to possessing only those one
   liquid formulation can be administered at different times of or more steps and also covers other unlisted steps.
   the day for the entire administration period. For example, an      " Optional ” or “ optionally” may be taken to mean that the
   enalapril oral liquid formulation can be administered on 8:00 10 subsequently described structure , event or circumstance may
   am in the morning for the first day, 12 pm noon for the next or may not occur, and that the description includes instances
   day or administration , 4 pm in the afternoon for the third day where the events occurs and instances where it does not .
   or administration , and so on .                                    As used herein , the term “ therapeutic ” means an agent
                                                                        utilized to treat, combat, ameliorate, prevent or improve an
                       Further Combinations                          15 unwanted condition or disease of a patient. In some embodi
                                                                   ments, a therapeutic agent such as enalapril is directed to the
     The treatment of certain diseases or conditions ( e.g. ,      treatment and / or the amelioration of, reversal of, or stabili
   hypertension, heart failure, myocardial infarction and the zation of the symptoms of hypertension described herein .
   like) in a subject with an enalapril oral liquid formulation       “ Administering ” when used in conjunction with a thera
   described herein encompass additional therapies and treat- 20 peutic means to administer a therapeutic systemically or
   ment regimens with other agents in some embodiments. locally, as directly into or onto a target tissue , or to admin
   Such additional therapies and treatment regimens can ister a therapeutic to a patient whereby the therapeutic
   include another therapy, e.g. , additional anti-hypertensives , positively impacts the tissue to which it is targeted. Thus, as
   for treatment of the particular disease or condition in some used herein , the term “ administering” , when used in con
   embodiments. Alternatively, in other embodiments, addi- 25 junction with an enalapril formulation , can include, but is
   tional therapies and treatment regimens include other agents not limited to , providing an enalapril formulation into or
   used to treat adjunct conditions associated with the disease onto the target tissue ; providing an enalapril formulation
   or condition or a side effect from the enalapril oral liquid systemically to a patient by, e.g. , oral administration
   formulation in the therapy.                                     whereby the therapeutic reaches the target tissue or cells .
     Additional agents for use in combination with an enalapril 30 “ Administering ” a formulation may be accomplished by
   oral liquid formulation described herein include, but are not injection , topical administration , and oral administration or
   limited to , diuretics (loop , thiazide, potassium - sparing, and by other methods alone or in combination with other known
   the like ), beta blockers (metoprolol, propanolol, pronethalol, techniques.
   and the like ), alpha blockers ( phentolamine, phenoxyben-              The term " animal” as used herein includes, but is not
   zamine , tamsulosin , prazosin , and the like ) , mixed alpha and 35 limited to , humans and non -human vertebrates such as wild ,
   beta blockers ( bucindolol, carvedilol, labetalol ), calcium domestic and farm animals . As used herein , the terms
   channel blockers ( dihydropyridines such as nifedipine, “ patient,” “ subject” and “ individual ” are intended to include
   amlodipine, etc. , dilitazem , verapamil and the like ), angio- living organisms in which certain conditions as described
   tensin II receptor antagonists ( saralasin , Isartan , eprosartin, herein can occur. Examples include humans, monkeys,
   irbesartan, valsartan , and the like) , other ACE inhibitors 40 cows , sheep, goats , dogs , cats, mice , rats, and transgenic
   ( captopril , quinapril, ramipril, lisinopril, zofenopril, and the species thereof. In a preferred embodiment, the patient is a
   like) , aldosterone antagonists ( eplerenone, spironolactone primate. In certain embodiments, the primate or subject is a
   and the like ) , vasodilators (hydralazine and the like ) and  human . In certain instances , the human is an adult. In certain
   alpha - 2 agonists ( clonidine , moxonidine, guanabenz and the instances, the human is child . In further instances, the human
   like ).                                                     45 is 12 years of age or younger. In certain instances, the human
                                                                  is elderly . In other instances , the human is 60 years of age
                       Certain Definitions                        or older. Other examples of subjects include experimental
                                                                  animals such as mice , rats, dogs, cats , goats, sheep, pigs , and
      Unless defined otherwise , all technical and scientific cows . The experimental animal can be an animal model for
   terms used herein have the same meanings as commonly 50 a disorder, e.g. , a transgenic mouse with hypertensive
   understood by one of ordinary skill in the art. Although any pathology. A patient can be a human suffering from hyper
   methods and materials similar or equivalent to those tension , or its variants or etiological forms.
   described herein can be used in the practice or testing of        By “ pharmaceutically acceptable ” , it is meant the carrier,
   embodiments described herein , certain preferred methods, diluent or excipient must be compatible with the other
   devices, and materials are now described.                   55 ingredients of the formulation and not deleterious to the
      As used herein and in the appended claims , the singular     recipient thereof.
   forms “ a ” , “ an ” , and “ the ” include plural reference unless The term “ pharmaceutical composition ” shall mean a
   the context clearly dictates otherwise . Thus, for example,     composition comprising at least one active ingredient,
   reference to “ an excipient” is a reference to one or more      whereby the composition is amenable to investigation for a
   excipients and equivalents thereof known to those skilled in 60 specified, efficacious outcome in a mammal ( for example,
   the art, and so forth .                                         without limitation , a human ). Those of ordinary skill in the
      The term “ about ” is used to indicate that a value includes art will understand and appreciate the techniques appropriate
   the standard level of error for the device or method being for determining whether an active ingredient has a desired
   employed to determine the value . The use of the term “ or ” efficacious outcome based upon the needs of the artisan.
   in the claims is used to mean “ and/ or ” unless explicitly 65 A “ therapeutically effective amount ” or “ effective
   indicated to refer to alternatives only or the alternatives are amount” as used herein refers to the amount of active
   mutually exclusive, although the disclosure supports a defi- compound or pharmaceutical agent that elicits a biological
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                                                            US 10,918,621 B2
                                 31                                                                                   32
   or medicinal response in a tissue , system , animal , individual a condition . As used herein , “ treat ,” “ treated ,” “ treatment ,"
   or human that is being sought by a researcher, veterinarian , or “ treating ” includes prophylaxis in some embodiments .
   medical doctor or other clinician, which includes one or
   more of the following: ( 1 ) preventing the disease ; for                                 EXAMPLES
   example, preventing a disease , condition or disorder in an 5
   individual that may be predisposed to the disease, condition
   or disorder but does not yet experience or display the                  Example A : Effect of pH on the Formation of
   pathology or symptomatology of the disease , ( 2 ) inhibiting          Degradants in Enalapril Formulations at 60 ° C.
   the disease ; for example, inhibiting a disease , condition or
   disorder in an individual that is experiencing or displaying 10 Formulations were prepared containing enalapril maleate
   the pathology or symptomatology of the disease , condition according to Table A - 1 . The pH of each solution was
   or disorder (i.e. , arresting further development of the pathol- recorded . Five milliliters of each formulation were trans
   ogy and / or symptomatology ), and ( 3 ) ameliorating the dis- ferred to each of four 3 - dram glass screw - capped vials with
   ease ; for example, ameliorating a disease , condition or Teflon inserts in the caps . The vials were placed into a 60 °
   disorder in an individual that is experiencing or displaying C. heating chamber then one vial removed and analyzed by
   the pathology or symptomatology of the disease , condition                HPLC at times of zero , -97 and ~ 180 hours .
                                                                                           TABLE A - 1
                                                  Formulation ( in mg/mL ) of Enalapril Formulations at Varying pH and Citrate Buffer Concentration
                                                                                                          Formulation (mM citrate )
                                             Component                           A1 (50)     A2 (50 )       A3 (50)        A4 (50)             A5 (50)         A6 (25)
                                             Enalapril maleate                     1.0         1.0            1.0                1.0             1.0            1.0
                                             Mannitol                             50          50             50                                 50              6.0
                                             Xylitol                                                                           50
                                             Citric acid , anhydrous               7.35        5.05           2.55              5.05             5.05           2.76
                                             Sodium citrate , dihydrate            3.45        7.0           10.8               7.0              7.0            3.15
                                             Sodium benzoate                       1           1               1                 1               1
                                             Methylparaben sodium                                                                                1.75           0.335
                                             Propylparaben sodium                                                                                               0.095
                                             Potassium sorbate                                                                                                  1
                                             Sucralose                             0.75        0.75           0.75               0.75            0.75          0.75
                                             Silicon dioxide                                                                                                    0.075
                                             Mixed berry flavor (powdered)         0.5         0.5            0.5                0.5             0.5            0.5
                                             Water                                  qs         qs              qs                qs               qs              qs
                                             pH                                    3.4         4.4            5.2                4.4             4.5            4.4

                                             qs = sufficient quantity

   or disorder ( i.e. , reversing the pathology and / or symptoma-            The results of the HPLC analysis for the two main
   tology ). As such , a non - limiting example of a " therapeuti- 40 degradants in the samples, enalapril diketopiperazine and
   cally effective amount” or “ effective amount of a formu- enalaprilat, are provided in Table A - 2 .
   lation of the present disclosure may be used to inhibit, block ,
   or reverse the activation , migration, or proliferation of cells                                    TABLE A - 2
   or to effectively treat hypertension or ameliorate the symp                       Primary Degradants Present in the Formulations
   toms of hypertension.                                                   45                 ( % w / w of enalapril maleate )
       The terms “ treat , ” “ treated ,” “ treatment, ” or “ treating” as                                       Formulation
   used herein refers to both therapeutic treatment in some
   embodiments and prophylactic or preventative measures in Hours at 60 ° C. A1 A2 A3 A4 A5 A6
   other embodiments, wherein the object is to prevent or slow                                  Enalapril Diketopiperazine
   ( lessen ) an undesired physiological condition , disorder or 50
   disease , or to obtain beneficial or desired clinical results . For            0        0.04        0.03      0.03      0.03  0.03 0.03
   the purposes described herein , beneficial or desired clinical                97
                                                                                180
                                                                                           3.10
                                                                                           6.21
                                                                                                       0.88
                                                                                                       1.77
                                                                                                                 0.33
                                                                                                                 0.75
                                                                                                                           0.86
                                                                                                                           1.73
                                                                                                                                 0.70
                                                                                                                                 1.43
                                                                                                                                      0.53
                                                                                                                                      1.07
   results include, but are not limited to , alleviation of symp                                                   Enalaprilat
   toms ; diminishment of the extent of the condition, disorder
   or disease ; stabilization (i.e. , not worsening) of the state of 55               0            0.09      0.15          0.29          0.14           0.16         0.12
   the condition, disorder or disease; delay in onset or slowing                     97
                                                                                    180
                                                                                                   5.20
                                                                                                   9.94
                                                                                                            16.9
                                                                                                            34.8
                                                                                                                          47.4
                                                                                                                         113
                                                                                                                                        16.1
                                                                                                                                        33.5
                                                                                                                                                       20.3
                                                                                                                                                       42.2
                                                                                                                                                                    15.6
                                                                                                                                                                    31.7
   of the progression of the condition , disorder or disease ;
   amelioration of the condition , disorder or disease state ; and
   remission (whether partial or total ) , whether detectable or
   undetectable , or enhancement or improvement of the con- 60         Example B : Effect of Buffer Concentration on the
   dition, disorder or disease . Treatment includes eliciting a       Formation of Degradants in Enalapril Formulations
   clinically significant response without excessive levels of                             at 60 ° C.
   side effects. Treatment also includes prolonging survival as
   compared to expected survival if not receiving treatment. A       Formulations were prepared containing enalapril maleate
   prophylactic benefit of treatment includes prevention of a 65 according to Table B - 1 . The pH of each solution was
   condition, retarding the progress of a condition, stabilization measured and adjusted as needed to pH 3.3 with ~ 1N HC1
   of a condition, or decreasing the likelihood of occurrence of             or -0.5N NaOH . Five milliliters of each formulation were
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                                                                          US 10,918,621 B2
                                             33                                                                                               34
   transferred to each of six 3 -dram glass screw -capped vials                            mixer for 5 minutes . The mannitol or xylitol was then added
   with Teflon inserts in the caps. The vials were placed into a                           and the components mixed for 5 minutes, then the other half
   60 ° C. heating chamber then two vials were removed and                                 of the mannitol or xylitol was added and a final mix of 5
   analyzed by HPLC at times of zero , ~ 66 and ~ 139 hours.                               minutes was completed.
                                                                                        5     One liter of solution formulation was prepared for each
                                     TABLE B - 1                                           formulation by adding an appropriate amount of each pow
                                                                                           dered formulation to a 1 liter volumetric flask and adding
            Formulation ( in mg /mL ) of Enalapril Maleate Formulations                    about 500 mL water. The powder was dissolved with mixing
                        at Varying Citrate Buffer Concentrations                           then the contents of the flask were brought to 1 liter with
                                                                                           additional water. The amount of powder to add was deter
                                                       Formulation                      10 mined such that the final concentration of enalapril maleate
                                       B1                     B2             B3
                                                                                           was 1.0 mg/mL. Fifty milliliter aliquots of each formulation
   Component                     (5 mM citrate ) ( 10 mM citrate ) ( 20 mM citrate )       were placed into HDPE bottles . The bottles were screw
                                                                                           capped and placed into storage at 5 ° C.13 ° C. , at room
   Enalapril maleate                   1.0                    1.0            1.0           temperature ( 19-23 ° C. ) and at 40 ° C.:2° C. At various
   Citric acid , anhydrous            0.82                   1.65           3.29        15 times , bottles were removed from the storage condition and
   Sodium citrate,                    0.19                   0.38           0.75               analyzed .
   anhydrous
   Sodium benzoate                     1.0                    1.0            1.0
   Sucralose                           0.7                    0.7            0.7                                                      TABLE C - 1
   Mixed berry flavor                  0.5                    0.5            0.5
   (powdered )                                                                          20                         Composition of Enalapril Maleate Formulations
   Water                               qs                     qs             qs
   ??                                  3.3                    3.3            3.3               Component                               Cl          C2         C3         C4       C5

   qs = sufficient quantity                                                                                                     Powder Formulation ( grams)
      The results of the HPLC analysis for the two main                                        Enalapril maleate                     12.3       12.3          8.86        2.16     2.16
   degradants in the samples, enalapril diketopiperazine and                            25 Mannitol                                  74.4       74.4        394.0
                                                                                               Xylitol                                                                  96.6     93.7
   enalaprilat, are provided in Table B - 2 .                                                  Citric acid , anhydrous    28.6                  35.6          28.4        5.40    5.40
                                                                                               Sodium citrate , anhydrous 24.5                  14.7           7.73       4.10     4.10
                                     TABLE B - 2                                               Sodium methylparaben                   4.17       4.17          8.86       2.16     2.16
                                                                                               Sodium propylparaben                    1.10      1.10
                     Primary Degradants Present in the Formulations                     30 Potassium sorbate                          12.3      12.3
                              ( % w /w of enalapril maleate )                                  Sodium benzoate                                                 8.86       2.16     2.16
                                                                                               Xanthan Gum                                                                         1.62
                                               Formulation                                     Colloidal silicon dioxide              0.859        0.859       4.43                1.08
                                                                                               Sucralose                              9.20         9.20        6.64       1.62     1.62
         Hours at              B1                     B2                   B3                  Mixed berry flavor                      6.13        6.13        4.43       1.08     1.08
           60 ° C.       ( 5 mM citrate )    ( 10 mM citrate)        (20 mM citrate)    35
                                                                                               Total solids                         173.5      170.7        472.3       115.2    115.2
                               Enalapril Diketopiperazine                                                                       Liquid Formulations (mg/mL )
               0              0.01                    0.01                0.01                 Enalapril maleate                       1.00        1.00       1.00        1.00     1.00
             66               1.57                    1.63                1.79                 Mannitol                                6.07        6.07      44.5
            139               3.70                    3.94                4.24          40
                                                                                               Xylitol                                                                  44.7     43.4
                                        Enalaprilat                                            Citric acid , anhydrous                2.33         2.90        3.21      2.50     2.50
                                                                                               Sodium citrate, anhydrous              2.00         1.20        0.87       1.90    1.90
               0              0.00                0.00                    0.00                 Sodium methylparaben                   0.34         0.34        1.00       1.00    1.00
             66               2.98                2.88                    3.19                 Sodium propylparaben                   0.09         0.09        1.00
            139               5.28                5.23                    5.69                 Potassium sorbate                      1.00         1.00
                                                                                               Sodium benzoate                                                 1.00       1.00     1.00
                                                                                        45 Xanthan Gum                                                                             0.75
                                                                                           Colloidal silicon dioxide                  0.07         0.07        0.50                0.50
               Example C : Stability of Enalapril Maleate                                  Sucralose
                                                                                               Mixed berry flavor
                                                                                                                                      0.75
                                                                                                                                      0.50
                                                                                                                                                   0.75
                                                                                                                                                   0.50
                                                                                                                                                               0.75
                                                                                                                                                               0.50
                                                                                                                                                                          0.75
                                                                                                                                                                          0.50
                                                                                                                                                                                   0.75
                                                                                                                                                                                   0.50
            Formulations Containing Paraben Preservatives                                      pH (measured )                         4.4          3.8         3.7        4.4      4.6

       Powder formulations were prepared according to Table                             50
   C - 1 . All components in each formulation except mannitol or                                 The results of the HPLC analysis for the diketopiperazine
   xylitol were added to a 2.5 liter polypropylene screw capped                                and enalaprilat degradants in the samples are provided in
   bottle . The bottle was mixed by inversion in a Turbula?                                    Table C - 2 .
                                                                                                                            TABLE C - 2
                                                                                          Degradant Content After Storage ( % w /w of enalapril maleate )
                                                                                                                  Storage                                 Formulation
                                                                                                           ° C.        Weeks          C1           C2         C3         C4       C5
                                                                                                                       Liquid Formulations
                                                                            Diketopiperazine                  5             0         0.03      0.04         0.04       0.02     0.02
                                                                                                                            4         0.02      0.03         0.03       0.03     0.02
                                                                                                                            8         0.03      0.04         0.04
                                                                                                          19-23             0         0.03      0.04         0.04       0.02     0.02
                                                                                                                            4         0.05      0.09         0.11       0.05     0.04
                                                                                                                            8         0.08      0.17         0.19
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                                                                     US 10,918,621 B2
                                      35                                                                                       36
                                    TABLE C - 2 - continued
                 Degradant Content After Storage ( % w / w of enalapril maleate )
                                  Storage                            Formulation
                               C.      Weeks     C1           C2         C3        C4          C5
                                       Liquid Formulations
                             40             0    0.03         0.04       0.04      0.02        0.02
                                            4    0.35         0.91       1.10      0.31        0.21
                                            8    0.65         1.80       2.05
   Enalaprilat                5             0    0.18         0.14       0.12      0.13        0.19
                                            4    0.18         0.15       0.12      0.43        0.53
                                            8    0.55         0.38       0.34
                            19-23           0    0.18         0.14       0.12      0.13        0.19
                                                 1.35         0.83       0.80      1.75        2.29
                                            8    3.34         2.06       1.98
                             40             0    0.18         0.14       0.12       0.13       0.19
                                            4   10.49      6.08          6.11      12.30      16.14
                                            8   24.37     14.12         14.22


                                                                                    20
             Example D : Stability of Enalapril Maleate                                    dered formulation to a 1 liter volumetric flask and adding
          Formulations Containing Benzoate Preservative                                    about 500 mL water. The powder was dissolved with mixing
                                                                                           then the contents of the flask were brought to 1 liter with
      Powder formulations were prepared according to Table additional water. The amount of powder to add was deter
   D - 1 . All components in each formulation except enalapril 25 mined such that the final concentration of enalapril maleate
   maleate and mannitol or xylitol were blended with a mortar  was 1.0 mg/mL. Fifty milliliter aliquots of each formulation
   and pestle . The enalapril maleate was then triturated with the
                                                               were placed into HDPE bottles . The bottles were screw
   blend . The xylitol or mannitol was then triturated into thecapped and placed into storage at 5º C.13 ° C. , at room
   blend using a geometric dilution technique.              30 temperature ( 19-23 ° C. ) and at 40 ° C.+ 2 ° C. At various
     One liter of solution formulation was prepared for each times , bottles were removed from the storage condition and
   formulation by adding an appropriate amount of each pow- analyzed.
                                                                                                       TABLE D - 1
                                                                                         Composition of Enalapril Maleate Formulations
                                                    Component                                               D1         D2       D3       D4       D5       D6

                                                                                                  Powder Formulation ( grams)
                                                    Enalapril maleate                                        3.63       3.63     3.63     3.63     8.86     2.16
                                                    Xylitol                                                537.2      176.1             537.2
                                                    Mannitol                                                                   319.4             401.2     98.9
                                                    Citric acid , anhydrous                                 11.9       11.9     11.9     10.4     26.6      6.48
                                                    Sodium citrate , anhydrous                               2.72       2.72     2.72     4.86    11.3      2.76
                                                    Sodium benzoate                                          3.63       3.63     3.63     3.63     8.86     2.16
                                                    Rebalance X60 ( sucralose and maltodextrin )                       10.9
                                                    Sucralose                                                                                      6.64     1.62
                                                    Saccharin sodium                                                             7.26
                                                    Colloidal silicon dioxide                                                                      4.43
                                                    Mixed berry flavor                                       1.82       1.82     1.82     1.82     4.43     1.08
                                                    Total solids                                           561        211      350 .    561      472.3    115.2

                                                                                                 Liquid Formulations (mg/mL)
                                                    Enalapril maleate                                        1.00       1.00     1.00     1.00     1.00     1.00
                                                    Xylitol                                                148.0       48.5             148.0
                                                    Mannitol                                                                    88.0              45.3     45.8
                                                    Citric acid , anhydrous                                  3.29       3.29     3.29     2.85     3.00     3.00
                                                    Sodium citrate, anhydrous                                0.75       0.75     0.75     1.34     1.28     1.28
                                                    Sodium benzoate                                          1.00       1.00     1.00     1.00     1.00     1.00
                                                    Rebalance X00 ( sucralose and maltodextrin )                        3.00
                                                    Sucralose                                                                                      0.75     0.75
                                                    Saccharin sodium                                                             2.00
                                                    Colloidal silicon dioxide                                                                      0.50
                                                   Mixed berry flavor                                        0.50       0.50     0.50     0.50     0.50     0.50
                                                   pH (measured )                                            3.2
                                                                                                                 .2     3.2      3.4
                                                                                                                                          3.7      3.6      3.6



                                                                                    65       The results of the HPLC analysis for the diketopiperazine
                                                                                           and enalaprilat degradants in the samples are provided in
                                                                                           Table D - 2 .
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                                           37                                                                                              38
                                                   TABLE D - 2
                  Degradant Content After Storage ( % w / w of enalapril maleate )
                        Storage                              Formulation
                       ° C.       Weeks            D1           D2           D3       D4       D5           D6
                                                Liquid Formulations
   Diketopiperazine     5            0             0.04         0.02         0.03     0.03     0.04         0.04
                                     4             0.07         0.03        0.05      0.05     0.03
                                     8             0.11         0.06        0.08      0.08     0.05
                                    12             0.08         0.04        0.06      0.06
                                    26             0.11         0.07        0.09      0.07
                       19-23         0             0.04         0.02        0.03      0.03     0.04         0.04
                                     4             0.27         0.21        0.24      0.16     0.12         0.12
                                     8             0.50         0.41        0.47      0.30     0.21         0.22
                                    12             0.62         0.52         0.58     0.35
                                    26             1.39         1.20         1.33     0.76
                       40            0             0.04         0.02        0.03      0.03     0.04         0.04
                                     4             2.87         2.32        2.73      1.57     1.21         1.13
                                     8             5.13         4.42        5.44      2.97     2.23         2.16
                                    12             6.86         5.90         6.90     3.91
                                    26           13.63         12.18        13.56     7.74
   Enalaprilat          5             0            0.03         0.02         0.03     0.03     0.13         0.14
                                      4            0.15         0.12         0.06     0.17     0.13
                                      8            0.22         0.19         0.22     0.27     0.34
                                    12             0.20         0.17         0.19     0.22
                                     8             0.32        0.30          0.30     0.39
                       19-23         0             0.03        0.02          0.03     0.03     0.13         0.14
                                     4             0.69        0.66          0.69     0.86     0.74         0.76
                                     8             1.38         1.33         1.41     1.68     1.83         1.82
                                    12             1.71         1.68         1.73     2.15
                                    26            3.63          3.61        3.59      4.55
                       40            0            0.03          0.02         0.03     0.03     0.13         0.14
                                     4            4.76          4.42         4.76     6.45     5.55         5.24
                                      8           8.95          8.64         9.61    12.94    12.73        12.18
                                    12           11.01         10.64        11.41    16.16
                                    26           17.18         17.11        18.30    27.36



         Example E : Stability of Solution Formulations of                                    35                                        -continued
                           Enalapril Maleate
                                                                           Composition of Enalapril Maleate Formulations (mg/mL)
       Solution formulations were prepared according to Table Component                    E1       E2      E3      E4      E5                                                E6
   E - 1 . Thirty milliliter aliquots of each formulation were
   placed into HDPE bottles. The bottles were screw -capped 40 Citric   acid anhydrous 3.29        3.29    3.29    3.29    1.65                                               0.82
   and placed into storage at 5 ° C.13 ° C. , at room temperature anhydrous
                                                                  Sodium citrate          0.75     0.75    0.75    0.75    0.38                                               0.19
   ( 19-23 ° C. ) and at 40 ° C.:2° C. At various times , bottles Sodium benzoate         1.00     1.00    1.00    1.00    1.00                                               1.00
   were removed from the storage condition and analyzed.          Sucralose                                0.70            0.70                                               0.70
                                                                                                    Mixed berry flavor           0.50            0.50     0.50     0.50       0.50
                                                                                             45 Water                             qs       qs     qs       qs       qs         qs
            Composition of Enalapril Maleate Formulations (mg/mL)                                  pH (measured )                3.3      3.3    3.3      3.4      3.3        3.3

   Component                   E1          E2           E3        E4          E5      E6            qs = sufficient quantity
   Enalapril maleate           1.00         1.00        1.00         1.00    1.00     1.00             The results of the HPLC analysis for the diketopiperazine
   Xylitol                  150           200                   150                                 and enalaprilat degradants in the samples are provided in
                                                                                                    Table E - 2 .
                                                                                                                               TABLE E - 2
                                                                                                   Degradant Content After Storage (% w /w of enalaprilmaleate )
                                                                                                                 Storage                         Formulation
                                                                                                           ° C.     Weeks       E1        E2         E3     E4           E5    E6
                                                                                    Diketopiperazine         5             0    0.01      0.01    0.01      0.01     0.01     0.01
                                                                                                                        4       0.04      0.04    0.05      0.04     0.03     0.03
                                                                                                                       8        0.04      0.04    0.04      0.04     0.03     0.03
                                                                                                                      12        0.05      0.05    0.04      0.05     0.04     0.04
                                                                                                                      26        0.07      0.06    0.05      0.06     0.05     0.05
                                                                                                                      52                                             0.15     0.14
                                                                                                                      62        0.18      0.18    0.16      0.14
                                                                                                          19-23         0       0.01      0.01    0.01      0.01     0.01     0.01
                                                                                                                        4       0.22      0.23    0.21      0.20     0.16     0.15
                                                                                                                           8    0.35      0.35    0.32      0.31     0.29     0.28
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                                           39                                                                                          40
                                   TABLE E - 2 - continued
                 Degradant Content After Storage ( % w /w of enalapril maleate )
                              Storage                                Formulation
                         ° C.    Weeks          E1         E2         E3       E4     E5            E6

                                   12           0.58       0.59       0.53     0.51   0.48      0.45
                                   26           1.10       1.10       1.00     0.95   0.97      0.92
                                   52                                                 2.30      2.15
                                   62           3.02       3.04       2.75     2.64
                         40         0           0.01       0.01       0.01     0.01   0.01      0.01
                                    4           2.65       2.71       2.60     2.42   1.76      1.68
                                    8           4.02       3.99       3.99     3.62   3.37      3.13
                                   12           6.72       6.42       6.47     6.00   5.53      5.29
   Enalaprilat            5         0           0.00      0.00        0.01     0.02   0.00      0.00
                                    4           0.07      0.09        0.10     0.11   0.07      0.08
                                    8           0.12       0.14       0.10     0.13   0.09      0.08
                                   12           0.16       0.15       0.15     0.17   0.14      0.11
                                   26           0.31       0.30       0.29     0.31   0.27      0.24
                                   52                                                 0.54      0.46
                                   62           0.75       0.75       0.74     0.71
                        19-23       0           0.00       0.00       0.01     0.02   0.00      0.00
                                    4           0.65       0.65       0.68     0.70   0.50      0.46
                                    8           1.17       1.19       1.20     1.23   1.03      0.95
                                   12           1.67       1.69       1.72     1.80   1.30      1.21
                                   26           3.36       3.38       3.42     3.57   3.07      2.90
                                   52                                                 6.32      5.88
                                   62           7.99       8.02       8.04     8.57
                         40         0           0.00       0.00       0.01     0.02   0.00      0.00
                                    4           4.85       4.93       5.19     5.42   3.33      3.25
                                    8           8.08       8.06       8.56     9.01   6.65      6.35
                                   12        10.70        10.48      11.01    11.97   8.14      7.96

                                                                                      30
          Example F : Effect of pH on the Formation of                                                                     TABLE G - 1 - continued
        Degradants in Enalapril Formulations at 5 ° C. and
                                    19-23 ° C.                                                                        Formulation and AET Testing Results
                                                                                                                                                   Formulation
      The content of enalapril diketopiperazine and enalaprilat 35                                                              G1          G2         G3        G4     G5
   that were formed after 8 weeks of storage for formulations
   C1 - C3 and D1 - D5 are plotted in FIG . 1 ( 5º C.13 ° C. ) and                           Sodium benzoate                    1.00    0.80          0.60       0.40   1.0
   FIG . 2 ( 19-23 ° C. storage ) . These formulations all contained                         Mixed berry flavor                 0.50
                                                                                                                                q.s.
                                                                                                                                        0.50          0.50       0.50   0.50
                                                                                                                                                                        q.s.
   20 mM total citrate buffer content, but with varying pH . The                             Water
                                                                                             HCl/NaOH
                                                                                                                                            q.s.       q.s.
                                                                                                                                            as need to achieve pH
                                                                                                                                                                 q.s.
   general effects of formulation pH on the formation of the 40                              Measured pH                       3.3     3.3            3.3        3.3    3.3
   two main enalapril degradants are shown.                                                                                      AET Results

       Example G : Antimicrobial Effectiveness Testing of                                    USP < 51 >                        Pass     Pass            ass      Pass   Pass
            Enalapril Maleate Formulations at pH 3.3                                         qs =   sufficient quantity
                                                                45
      Enalapril formulations were prepared containing differing
   amounts of the antimicrobial preservative, sodium benzoate .                                     Example H : Clinical Trial: Bioavailability Study of
   The formulations were then tested for antimicrobial effec                                         10 mg Enalapril Maleate Oral Solution vs. 10 mg
   tiveness (AET) according to the procedures in the 2014                                           Epaned® Powder for Oral Solution (Reconstituted )
   United States Pharmacopeia 37 , Chapter < 51 > for category 50                                                         Under Fasted Conditions
   3 products. The formulation of the formulations and the AET
   results are included in Table G - 1 .                                                        The objective of this open- label , randomized , two -period ,
                                                                                         two - treatment, two -way crossover study was to compare the
                                   TABLE G - 1                                           oral bioavailability of a test formulation of 10 mL of
                       Formulation and AET Testing Results
                                                                                      55 enalapril maleate oral solution , 1 mg/mL ( formulation E - 5 ) ,
                                                                                         to an equivalent oral dose of the commercially available
                                                       Formulation                           comparator product, Epaned® ( enalapril maleate ) Powder
                                                                                             for Oral Solution , 1 mg/mL , when administered under fasted
                                   G1           G2        G3          G4       G5            conditions in healthy adults.
                                Formulation (mg/mL )
                                                                                      60        Study design : Thirty - two healthy adult subjects received
                                                                                         a single 10 mL dose of enalapril maleate oral solution , 1
   Enalapril maleate
   Xylitol
                                   1.00         1.00       1.00      1.00     1.00       mg/mL , formulation E - 5 ( Treatment A) , in one period and a
   Sucralose
                                 150        150          150       150
                                                                              0.70
                                                                                         separate single dose of Epaned Powder for Oral Solution
   Citric acid , anhydrous         1.64         1.64       1.64       1.64    1.80       ( reconstituted with the supplied Ora - Sweet SF ) , 1 mg /mL
   Sodium citrate , anhydrous      0.322        0.322      0.322      0.322           65 ( Treatment B ) in another period. Each treatment was admin
   Sodium citrate , dihydrate                                                 0.165      istered after an overnight fast of at least 10 hours , followed
                                                                                         by a 4 -hour fast postdose . Each treatment was administered
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                                41                                                                     42
   via a 10 mL oral dosing syringe and followed with 240 mL                 What is claimed is :
   of room temperature tap water. Each drug administration                  1. A stable oral liquid formulation , consisting essentially
   was separated by a washout period of at least 7 days.                  of:
     During each study period, meals were the same and                      ( i ) about 0.6 to about 1.2 mg/ml enalapril or a pharma
   scheduled at approximately the same times relative to dose .      5           ceutically acceptable salt or solvate thereof;
   In addition, during each period, blood samples were                      ( ii ) a buffer to maintain the pH about 4.5 or below,
   obtained prior to and following each dose at selected times                  wherein the buffer concentration is about 5 mM to
   through 72 hours postdose . Pharmacokinetic samples were                     about 20 mM ;
   analyzed for enalapril and its metabolite enalaprilat using a            ( iii ) a preservative, wherein the preservative is a paraben
   validated analytical method ; appropriate pharmacokinetic         10          or a mixture of parabens; and
   parameters were calculated for each formulation using non                ( iv ) water;
   compartmental methods. Blood was also drawn and urine                    wherein the formulation optionally comprises a sweet
   collected for clinical laboratory testing at screening and at                ener, a flavoring agent, or both ;
                                                                            wherein the formulation is stable at about 5 + 3 ° C. for at
   the end of the study.                                             15       least 12 months; and
      Statistical Methods: The concentration - time data were           wherein the stable oral liquid formulation has about 95 %
   analyzed using noncompartmental methods in PhoenixTM                    w / w or greater of the initial enalapril amount and about
   WinNonlin® ( Version 6.3 , Pharsight Corporation ). Concen              5 % w/w or less total impurity or related substances at
   tration - time data that were below the limit of quantitation           the end of the given storage period .
   ( BLQ ) were treated as zero in the data summarization and 20 2. The stable oral liquid formulation of claim 1 , compris
   descriptive statistics . In the pharmacokinetic analysis, BLQ ing a sweetener.
   concentrations were treated as zero from time- zero up to the        3. The stable oral liquid formulation of claim 1 , compris
   time at which the first quantifiable concentration was ing a flavoring agent.
   observed ; embedded and /or terminal BLQ concentrations              4. The stable oral liquid formulation of claim 1 , wherein
   were treated as “ missing” . Actual sample times were used 25 the buffer comprises a citrate , a phosphate , a citrate/phos
   for all pharmacokinetic and statistical analyses . Analysis of phate,. an acetate , a glycinate, an amino acid , or a tartrate
   variance (ANOVA ) and the Schuirmann's two one - sided buffer
   t - test procedures at the 5 % significance level were applied to the5.buffer
                                                                           The stable oral liquid formulation of claim 1 , wherein
                                                                                  concentration is about 10 mM to about 20 mM .
   the log - transformed pharmacokinetic exposure parameters, 30
                                                                        6. The   stable
   Cmax , AUCiast, and AUCing. The 90 % confidence interval for the buffer maintains    oral liquid formulation of claim 1 , wherein
   the ratio of the geometric means ( Test /Reference) was                                   the pH between about 3 and about 4 .
   calculated . Bioequivalence was declared if the lower and the7.buffer   The stable oral liquid formulation of claim 1 , wherein
                                                                                  maintains the pH at about 3.3 .
   upper confidence intervals (CIS ) of the log -transformed
   parameters were within 80 % to 125 % for enalapril and 35 ing8.about    The stable oral liquid formulation of claim 1 , compris
                                                                                 1.0 mg /ml enalapril or a pharmaceutically accept
   enalaprilat.                                                       able salt or solvate thereof.
        Results: A total of 32 subjects participated in the study and
   29 of these subjects completed both study periods. Based on the9.enalapril
                                                                           The stable oral liquid formulation of claim 1 , wherein
                                                                                    or a pharmaceutically acceptable salt or solvate
   the geometric mean ratios of enalapril and enalaprilat AUCs thereof is enalapril maleate .
   ( AUCiast and AUCint), the bioavailability of the enalapril 40 10. The stable oral liquid formulation of claim 1 , wherein
   maleate oral solution ( formulation E - 5 ) relative to the the preservative is a mixture of parabens.
   Epaned Powder for Oral Solution ( reconstituted ) was                11. The stable oral liquid formulation of claim 1 , wherein
   approximately 105 % to 110 % . The geometric mean ratios of            the paraben or the mixture of parabens is methylparaben ,
   enalapril and enalaprilat Cmax were approximately 115 % and            ethylparaben , propylparaben , butylparaben , salts thereof , or
   109 % , respectively. The 90 % CI for comparing the maxi- 45           a combination thereof.
   mum exposure to enalapril and enalaprilat, based on In                    12. The stable oral liquid formulation of claim 1 , wherein
   (Cmax ), was within the accepted 80 % to 125 % limits . The            the preservative
                                                                          lparaben .        is a mixture of methylparaben and propy
   90 % CIs for comparing total systemic exposure to enalapril
   and enalaprilat, based on In (AUCiast) and In (AUCint), was              13. The stable oral liquid formulation of claim 1 , wherein
   within the accepted 80% to 125 % limits. Therefore, the test 50 the paraben or the mixture ofparabens is present at about 0.1
   formulation of enalapril maleate oral solution, 1 mg/mL , is mg /ml to about 2 mg/ml in the oral liquid formulation .
                                                                             14. The stable oral liquid formulation of claim 1 , wherein
   bioequivalent to the reference product, Epaned Powder for              the paraben or the mixture of parabens is present at about 1.6
   Oral Solution (reconstituted ), 1 mg/mL , under fasted con             mg /ml to about 2 mg/ml in the oral liquid formulation .
   ditions .                                                         55      15. The stable oral liquid formulation of claim 1 , wherein
      While preferred embodiments of the present invention     the paraben or the mixture of parabens is present at about 0.1
   have been shown and described herein , it will be obvious tomg /ml to about 0.5 mg/ml in the oral liquid formulation .
   those skilled in the art that such embodiments are provided
   by way of example only. Numerous variations, changes, and the16.paraben
                                                                      The stable oral liquid formulation of claim 1 , wherein
                                                                           or the mixture of parabens is present at about 2 %
   substitutions will now occur to those skilled in the art 60 w / w to about 30 % w/w of the solids in the oral liquid
   without departing from the invention . It should be under- formulation .
   stood that various alternatives to the embodiments of the                 17. The stable oral liquid formulation of claim 1 , wherein
   invention described herein may be employed in practicing               the formulation is stable at about 5 + 3 ° C. for at least 18
   the invention . It is intended that the following claims define        months.
   the scope of the invention and that methods and structures 65 18. The stable oral liquid formulation of claim 1 , wherein
   within the scope of these claims and their equivalents be the formulation is stable at about 5-3 ° C. for at least 24
   covered thereby.                                             months.
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                                    43                                                                     44
         19. A stable oral liquid formulation , consisting essentially           25. The stable oral liquid formulation of claim 19 ,
   of:                                                                         wherein the enalapril or a pharmaceutically acceptable salt
         (i ) about 0.6 to about 1.2 mg /ml enalapril or a pharma              or solvate thereof is enalapril maleate .
             ceutically acceptable salt or solvate thereof;                      26. The stable oral liquid formulation of claim 19 ,
         (ii ) a buffer to maintain the pH about 4.5 or below , 5 wherein
                                                                  selected the
                                                                           frompreservative is a, mixture
                                                                                 methylparaben             of parabens
                                                                                                  ethylparaben          that are,
                                                                                                               , propylparaben
           wherein the buffer concentration is about 5 mM to                   and butylparaben .
           about 20 mM ;
         ( iii ) a preservative, wherein the preservative is methylpa            27. The stable oral liquid formulation of claim 19 ,
              raben , ethylparaben, propylparaben , butylparaben , or a        wherein the preservative is present at about 0.1 mg/ml to
            combination thereof; and                                      10   about 2 mg/ml in the oral liquid formulation .
         (iv ) water ;                                                           28. The stable oral liquid formulation of claim 19 ,
         wherein the formulation optionally comprises a sweet                  wherein the preservative is present at about 1.6 mg/ml to
            ener, a flavoring agent, or bot                                    about 2 mg/ml in the oral liquid formulation.
         wherein the formulation is stable at about 5 + 3 ° C. for at            29. The stable oral liquid formulation of claim 19 ,
           least 12 months; and                                           15   wherein the preservative is present at about 0.1 mg/ml to
     wherein the stable oral liquid formulation has about 95 %                 about 0.5 mg /ml in the oral liquid formulation .
        w / w or greater of the initial enalapril amount and about of:30. A stable oral liquid formulation, consisting essentially
        5 % w / w or less total impurity or related substances at     ( i ) about 0.6 to about 1.2 mg/ml enalapril or a pharma
       the end of the given storage period.
     20. The stable oral liquid formulation of claim 19 , 20 ( ii )ceuticallya buffer
                                                                                       acceptable salt or solvate thereof;
                                                                                      to maintain the pH about 4.5 or below ;
   wherein the buffer comprises a citrate , a phosphate, a                       ( iii ) a preservative, wherein the preservative is methylpa
   citrate / phosphate, an acetate , a glycinate, an amino acid , or                 raben , ethylparaben , propylparaben, butylparaben, or a
   a tartrate buffer.
     21. The stable oral liquid formulation of claim 19 ,                             combination thereof; and
   wherein the buffer concentration is about 10 mM to about 20 25                (iv ) water;
   mM .                                                                          wherein the formulation optionally comprises a sweet
      22. The stable oral liquid formulation of claim 19 ,                           ener, a flavoring agent, or both ;
   wherein the buffer maintains the pH between about 3 and                       wherein the formulation is stable at about 5 + 3 ° C. for at
   about 4 .                                                                       least 12 months; and
      23. The stable oral liquid formulation of claim 19 , 30                    wherein the stable oral liquid formulation has about 95 %
   wherein the buffer maintains the pH at about 3.3 .                              w / w or greater of the initial enalapril amount and about
      24. The stable oral liquid formulation of claim 19 , com                     5 % w/w or less total impurity or related substances at
   prising about 1.0 mg/ml enalapril or a pharmaceutically                         the end of the given storage period .
   acceptable salt or solvate thereof.
